Case 6:19-cv-01829-PGB-EJK Document1 Filed 09/20/19 Page 1 of 35 PagelD 1

UNITED STATES DISTRICT COURT
; MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

CARINA KING and JAMES KING,
Plaintiffs,

ve CASE NO:

MRAD PHASE I, a Florida limited liability
corporation, d/b/a MARDEN RIDGE; NM
RESIDENTIAL, a Florida limited liability
corporation; and DONNA WILKENFELD.

Defendants.

COMPLAINT

 

COMES NOW the Plaintiffs, CARINA KING and J AMES KING, by and through their
undersigned counsel, sues the Defendants, MRAD PHASE I, d/b/a MARDEN RIDGE; NM

RESIDENTIAL, and DONNA WILKENFELD and would state as follows:

JURISDICTIONAL ALLEGATIONS

1. This is an action for declaratory judgment, permanent injunctive relief, and damages for
discrimination on the basis of handicap in the rental of housing pursuant to the Fair
Housing Act of 1968, as amended, 42 U.S.C. § 3601 et seq. Defendants, the owners,
managers, and/or employees of a residential apartment complex, discriminated against
Plaintiffs by wrongfully denying their reasonable accommodation and engaging in

retaliatory conduct for the Plaintiff's exercising their Fair Housing rights.
Case 6:19-cv-01829-PGB-EJK Document1 Filed 09/20/19 Page 2 of 35 PagelD 2

3. The Court has original jurisdiction pursuant to 11 U.S.C. § 1331, 42 U.S.C.§ 3613,
because this lawsuit is brought under the Fair Housing Act, 42 U.S.C. § 3601 et. Seq. and
supplemental jurisdiction under U.S.C. § 1291, over the Plaintiff's claims under the
Florida Fair Housing Act, §760.20, et seq.

3, Venue is proper in the Middle District of Florida, Orlando Division, under 28 U.S.C.
§1391(b) because the claim arose in this judicial district.

4. Plaintiffs CARINA KING and JAMES KING (hereinafter “KING”) are a resident of the
State of Florida and is otherwise sui juris. KING currently resides in Orange County,
Florida.

5. Defendant, MRAD PHASE 1 is limited liability corporation which owns and operates a
residential apartment complex operating under the fictious name of MARDEN RIDGE
(Hereinafter MARDEN) located at 1595 Marden Ridge Loop, Apopka, Florida 32703.
It’s registered principal place of business is 151 Southhall Lane, suite 150, Maitland, FL
32751.

6. Defendant NM RESIDENTAL, LLC (hereinafter NM), is a Florida limited liability
corporation and operates a property management company that manages MARDEN
RIDGE. It’s registered principal place of business is 151 Southhal! Lane, Suite 159,
Maitland, FL 32751.

7. Defendant DONNA WILKENFELD (hereinafter referred to as “WILKENFELD”) is
property manager for NM and was/is acting under the scope of her employment with
NM in discriminating against KING. She is the property manager at 1595 Marden Ridge

Loop, Apopka, Florida 32701.

PARTIES
Case 6:19-cv-01829-PGB-EJK Document1 Filed 09/20/19 Page 3 of 35 PagelD 3

10.

11.

12.

13.

14.

{5.

16.

17.

Plaintiff ‘s KING are United States citizens with a minor child who suffers from a
disability as defined by 42 U'S.C, 53602(h). His disability impairs major life activities
including social and general living functioning.

Defendant MARDEN is a “dwelling” within the meaning of 42 U.S.C. §3602(b). Itis a
ulti-rise apartment complex.
Defendant NM is a property management company holding itself out as the property
managers for MARDEN. It’s registered principal place of business is identical to that of
MARDEN.

Defendant WILKENFELD is a property manager for MARDEN and employed by NM
and her employment responsibilities include interacting with tenants and lease issues.

FACTUAL BACKGROUND

The KINGS executed a lease with MARDEN on ot about September 14, 2018. (See
attached Exhibit A). The lease term was to run from October 1, 2018 to September 30,
2019.

On or about February 2019 the Kings first had issues with the noise when new tenants.
The KINGS have a 5-year-old son who is autistic. Loud noises and vibrations, such as
were occurring from the occupants above them cause him to shut down until the noise
stops and casues severe sensory issues.
This issue was identified and addressed by the minor son’s physician who drafted a letter
reflecting his housing needs.(See attached Exhibit “B”.)
The KINGS contacted NM about the issue in April 2019.

The KINGS contacted law enforcement about the issue the first time on April 3, 2019.
Case 6:19-cv-01829-PGB-EJK Document1 Filed 09/20/19 Page 4 of 35 PagelD 4

18.

19,

20,

21.

22.

23,

24.

25.

26.

The KINGS requested a reasonable accommodation, a move from their current apartment
to a unit that is not directly below the loud upstairs occupants or requested that the
upstairs occupants be moved.
The reasonable accommodation request was denied, and no action was taken by
MARDE, NM or WILKENFELD.
‘The KINGS through their counsel made a formal request for a reasonable
accommodation in writing on May 29, 2019. (See attached Exhibit “C”)
No response was provided, and as second formal request was made in writing on June 10,
2019, (See attached Exhibit “D”)
On June 17, 2019, NM and WILKENFELD sent an email to the KINGS requesting that
they renew their lease for another year (See attached Exhibit “E”)
On July 15, 2019 the KINGS made filed a formal Complaint with HUD alleging
discrimination under the Fair Housing Act. (See attached Exhibit “F”)
On July 31, 2019, subsequent to filing the Complaint with HUD WILKENFELD sent
notification to the KINGS that they were not going to renew their lease. (See attached
Exhibit “G”)

CLAIMS FOR RELIEF

Count I; Violations of the Fair Housing Act

The allegations listed in Paragraphs 1-24 are incorporated herein by reference.
Defendant’s, MARDEN, NM and WILKENFELD actions described above constitute:
a, Discrimination in the terms, conditions, or privileges of sale or rental of a
dwelling, or in the provision of services or facilities in connection with such

dwelling because of disability, in violation of the FHAct, 42 U.S.C.§3604(H(2);

4
Case 6:19-cv-01829-PGB-EJK Document1 Filed 09/20/19 Page 5 of 35 PagelD 5

27.

28,

29.

30.

31.

b. A refusal to make reasonable accommodations in rules, policies, practices, or
services when such accommodations may be necessary to afford a person an equal
opportunity to use and enjoy a dwelling in violation of the FHAct, 42 U.S.C.
§3604()3)(B);

c, Interference with the rights of persons in the exercise or enjoyment of, or on
account of their having exercised or enjoyed, or on account of their having aided
or encouraged persons with disabilities in the exercise or enjoyment of rights
granted or protected by the FHAct, in violation of 42 U.S.C. §3617.

Asa result of the Defendant’s actions described above, KINGS suffered, and continue to
suffer, irreparable loss and injury including, but not limited to, humiliation,
embarrassment, emotional distress, aggravation to multiple pre-existing conditions and a
deprivation of their rights to equal housing opportunities regardless of disabilities.
Defendant, MARDEN, NM and WILKENFELD acted intentionally, willfully, and in
disregard for the rights of the KINGS.

The KINGS have been the victims of Defendant MARDEN, NM and WILKENFELD’s
discriminatory conduct and are “agerieved person’s” within the meaning of 42 U.S.C.

§3602(i) and have suffered harm and damages as a result of Defendant’s conduct.
Count I: Retaliation

The allegations in Paragraph 1-28 are incorporated herein by reference.

In acting as alleged, Defendants have engaged in a practice of retaliation against the
KINGS who made lawful and reasonable accommodation requests they are entitled to
under the FHAct. In response to making said requests, the Defendant’s retaliated against

the KINGS by no longer offering a lease renewal. By retaliating against the KINGS for

5
Case 6:19-cv-01829-PGB-EJK Document1 Filed 09/20/19 Page 6 of 35 PagelD 6

32.

33,

34,

exercising their rights under the law, the conduct by the Defendants is in violation of the

FHAct 42 U.S.C. §3617.
As a matter of public policy, the law protects tenants against retaliatory eviction,
motivated by an attempt to, in effect, punish them for their exercise of legally protected

rights. The KINGS have been warned of being evicted if they do not vacate at the end of

their current lease.

As a proximate result of the retaliatory conduct of MARDEN, NM and WILKENFELD,
the KINGS have suffered, and continue to suffer, irreparable loss and injury including,
but not limited to, humiliation, embarrassment, emotional distress, aggravation to
multiple pre-existing conditions and a deprivation of their rights to equal housing
opportunities regardless of disabilities

The acts of MARDEN, NM and WILKENF ELD were willful, wanton, malicious, and

oppressive, and justify the awarding of punitive damages.
WHEREFORE, Plaintiffs respectfully request that this Court:
a. Assume jurisdiction of this action; and

b. Declare MARDEN, NM and WILKENFELD’s actions complained herein to be in

violation of the Fair Housing Act, Title VIII of the 1968 Civil Rights Act, 42 U.S.C. §
3604 (a), and (b).; and

c, Order that MARDEN, NM and WILKENFELD take appropriate affirmative action to
ensure that the activities complained of are not engaged in again by them or any of their

agents; and
Case 6:19-cv-01829-PGB-EJK Document1 Filed 09/20/19 Page 7 of 35 PagelD 7

d, Renew the KINGS lease for an additional year as previously offered and grant their
& : : : fe
reasonable accommodation to be moved at no cost to a new unit that is not subject to the

noise they are currently exposed to and have complained of.

e. Permanently enjoin MARDEN, NM and WILKENFELD, their agents, employees, and
successors from discriminating on the basis of disability against any person in violation
of Title VIII of the 1968 Civil Rights Act and in violation of the Civil Rights Act of

1964; and

e. Award appropriate punitive and compensatory damages to the KINGS against

MARDEN, NM and WILKENFELD; and
f. Award the KINGS attorney fees and costs pursuant to 42 U.S.C, § 3613(c)(2), and
g. Provide such further relief as this court deems just and proper.

DEMAND FOR JURY TRIAL
Plaintiff demands a jury trial for all issues so triable.

CERTIFICATION AND CLOSING
Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
cost of litigation; (2) is supported by existing law or by a nonfrivolous argument for
extending, modifying, or reversing existing law; (3) the factual contentions have

evidentiary support or, if specifically so identified, will likely have evidentiary support
Case 6:19-cv-01829-PGB-EJK Document1 Filed 09/20/19 Page 8 of 35 PagelD 8

after a reasonable opportunity for further investigation or discovery; and (4) the

complaint otherwise complies with the requirements of Rule i1.

Ow "
Dated this Ae day of LePreoletbos.

Respectfully submitted,

 

CARINA KING

J bine je

JAMES KING

By and through their attorney:

JEFFREY R HUSSEY, Esquire

W2lA

Jeffrey u \y, Bstui ,

Florida Bar #084560

Community Legal Services of Mid Florida
122 East Colonial Drive Suite 200
Orlando, FL 32801

Phone (407) 704-5106
jeffreyh@clsmf.org
Case 6:19-cv-01829-PGB-EJK Document1 Filed 09/20/19 Page 9 of 35 PagelD 9

 

Date of Lease Contrach _ September 14, 2018
(when the Lease Contract is filled gull)

4. PARTIES. This Lease Contract (sometinies referred to as the “leasa"} {s
between yur, the nesident(s) {list all people siggsiug the Lease Contract):
3.

 

 

and ws, the owner:

Harden Ridge Apartments

 

 

 

(name of apartment comeurnity or title holder). You've agreed to rent
Ce Bag 1898 Marden Ridge

Loop. istreet adie}
city,

[coer APOPKA ——__-_____
Florida, 32703 dip code}ior use as a private
residence only, The terms "you" and “your” refer to all cosidents listed

above, The terms “we,” “us, and “our” refer to the owner listed above(or *

any of owner's successors’ In interest of assigns). Written of electronic
notice to or from our managers constitutes notice to.or from us. Efan

else has guaranteed performarice of this Lease Contract, a separate
Contract Guaranty for each guarantor ts attached,

The ‘a Owner or q Manager of these apartments Is Marden,
dge Apartments

Whose address ts 1595 Marden Ridge Loop

 

 

et et SHEN person of company iF
authorized to recelya notices and deniands in thé landlord's behalf.

Alease termination notice must be given in writing. Notice 1a the landlord
nuustbe delivered tothe management office at the apartment egugyalty
or any other address designated by management ag follows: 2595
Harden Ridge Loop, Apopka, FL 32703

Roticetothe tenant must be delivered fo the Residents address as shown
aoove,

2 GCCUPANTS. Theapariment willbe occupled only by youand flistall
ofker occupails nol signing the Lease Contract):
Jason King

 

 

 

 

Noa one else may occupy’ the apariment Persons not tisted above must

not stay In the apartment for more days without our
prior jeitten consent, If the precious space isn't filled in, hee days per notte
the limit.

3. LEASE TERM AND TERMINATION NOTICE REQUIREMENTS,
The {niital term of the Edase Contract begins on the day 0
Ooteber _* and ends at midnight the
day of ar. + This Lease Contract will
automatically renew month-fo-month untess either party gives at least
= gags seritten notice of termination or isa | Neneh nt He
requ t asagraph and paregraph 36 (Moy: It Notice), 188
number ofda 5 isn't Fined in, at least ab days’ notice [s required. fn the
event you fall {o provide us with the required number of days’ writhea
notice of termination and intent ta vacate coinciding with the lease
expiration date, as required by this paragraph and | paragra h 36 (Move-
Out Netlce), you acknotledge and agree that you shall be liable tous for
liquidated damages in the sum ofS equal to ane
month's rent) i accordazice with fa. Stat, §83.575(2). This liquidated
damages amount Is exclusive to Insuffictent potice under this paragraph
and paragraph 34 (Move-Out Notice), and does not limit collection ents
with regard to other amounb potentially owed to ws. if the fease term 4s
nota month-do-month tenancy, we ntust notify you with writlen notice
nolajer than iO days before the end of the lease term if the
lease will not be rengwed.

onth-to-Month Tenancies: In the event this Lease Contract renews
Ba a month-to-month basls, you must pay the amount of rent we charge
m the time the month-to-month fenancy commences pursuant to this
Ba ragroph and paragraph 15 (Rent Increases add Lease Confract Changes),
Exlurive of any applicable month-fo-month fees and/or premlunts. We
Bay change your rent at any time thereafter during a nionth-fo-month
ar ving yor no Jess than 30 days" wriiten notice, You will be

 
  
  
  
  
 
 
 
 

EXHIBIT

fically changed In

Priting, All sums dud under this paragraph shall be additional rent. We

ntay cequire you to sign an addendum weilten for month-to-month

tenants, Elthor part; may terminates month-to-month tenancy by giving

the other party weilten notice sto later than 15 days’ priot fo the end of the
monthly rental pestod. [f you fail to provide us at least 13 days" written

_notice fo terminate a month-to-month tenancy prior to the end of the
monthly renta! period, you shall be Elable to us for an additional 1 month's
renit,

4. SECURITY DEPOSIT. Unless modified by addenda, the total security
deposit at the time of execution of this Lease Contract for all residents in
the apartment is §. 5 . due on or before the date this
Lease Contract ts signed.

©2018, National Apartment Association, Inc. - 2/2018, Florida

Apartment Lease Contract

Moving In-— General Information

r

  
 

Einju LaneER ISOLA

pret eae

This ts a binding document, Read carefully before siguing.

Any security deposit or advance rent you paid is being held (none of the
following three ways as indicated below [Landtord check one option]:

Ot. Ina te NON-JNTEREST bearing account for your benefit in
tha following bank:

whose address Is

 

 

 

 

7OR

In a separate INTEREST bearing account for your benefit in the
folfowing bank

whose address is

O02.

 

’

 

 

 

 

If an interest bearing account, you will be entilled to receive and
collect interest In an atount of at least 75 percent of Lhe annualized
average Interest rate payable on such account of Interest at the rale
of 5 percent per year, simple Interest, whichever the landlord elects.

@ 3. Ina commingled account at the following bank
Bun’ n_B:

whose address Is

 

 

 

provided that tha landiord posts a surety bond with the county
or stale, as required by law, and pays you interest on your securil,
deposit or advance rent at the rate of 5 percent per year simple
bvlerest.

a Initials of Resident. Resident acknowledges recelving a
copy of £9. 63.49(2)(d) which provides as follaws:

YOUR LEASH REQUIRES PAYMENT OF CERTAIN DEPOSITS. THE
LANDLORD MAY TRANSFER ADVANCE RENTS TO FHE
LANDLORD'S ACCOUNT AS THEY ARE DUG AND WITHOUT
NOTICE. WHEN YOU MOVE OUT, YOU MUST GIVE THE LANDLORD
YOUR NEW ADDRESS SO THAT THE LANDLORD CAN SEND YOU
NOTICES REGARDING YOUR DEPOSIT. FHE LANDLORD MUST
MATL YOU NOTICE, WITHIN 30 DAYS AFTER YOU MOVE OUT, OF
HE LANDLORD'S INTENT TO IMPOSE A CLAIM AGAINST THE
DEPOSIT. fF YOU DO NOT REPLY TO THE LANDLORD STATING
YOUR OBJECTION TO THE CLAIM WITHIN {5 DAYS AFTER RECEIPT
OF THE LANDLORD'S NOTICE, THE LANDLORD WILL COLLECT
THE CLAIM ANO MUST MAIL YOU THE REMAINING DEPOSIT, IF
ANY.

if THE LANDLORD PAILS TO TIMELY MAIL YOU NOTICE, THE
LANDLORD MUST RETURN THS DEPOSIT DUT MAY LATER FILE A
LAWSUIT AGAINST YOU FOR DAMAGES. If YOU FAIL TO TIMELY
ODJECT TO A CLAIM, THE LANDLORD MAY COLLECT FROM THE
bear BUT YOU MAY LATER FILE A LAWSUIT CLAIMING A

YOU SHOULD ATTEMPT 10 INFORMALLY RESOLVE ANY DISPUTE
BEFORE FILING A LAWSUIT. GENERALLY, THE PARTY IN WHOSE
FAVOR A JUDGMENT IS RENDERED WILL BB AWARDED COSTSAND
ATTORNEY FEES PAYABLE BY THE LOSING PARTY.

THIS DISCLOSURE IS BASIC. PLEASE REFER TO PART EOP CHAPTER
83, FLORIDA STATUTES, TO DETERMINE YOUR LEGAL RIGHTS AND
OBLIGATIONS,

KEYS AND FURNITURE. Youivillbe provided __4_aparlment
keyts), __2 __.; Mallbox key(s}, and alher access devices
fat ‘ob . Your apartment wil be {duck one}:
€) fumished or @) unfurnished. See paragraph 9, Locks and Latches.

RENT AND CHARGES, Unless modifled by addenda, you will pay
$1600.00 per nionth for tent, payable in advance and without
lemand:

@} at the an-site manager's office, ar
& at our caline payment site, or
@ at x d

 

ia due for the rentainder of fefuck ouch:

‘

Prorated rent of $_
QQ tst month or 2nd month,

Otherwise, you must pay your rent of or before the Isl day of each month
(due date) with no grace period. Cash fs unacceplable without our prior
written permission, You must not withhold or offset rent untess
aulhorized by statute. We may, at our option, require at any linte lhat you
pay all rent and other sums In cash, certified of cashier's check, money
order,orone monthly check rather than multiple checks. At our discretion,

 

 

we may convert any and all yia the Automaled Clearing Hause
{ACH) system for the pu of collecting payment, We nay, but are
not required to, accept rent through direct debit, ACH ar ather electronic

Pagel of7

 

an Slue Moon eSignature senices Document (0; 191684513 ]
Case 6:19-cv-01829-PGB-EJK Document1 Filed 09/20/19 Page 10 of 35 PagelD 10

4

1

=

M

1

_

1

=

B.

means established and approved by us. If yor don't pay all sent on or
before the day of the month, you'll pay an initial late charge
of $ plusa hate chargeof§ day

 

after that date until pafd in full. Daily late charges will natexceed 15 days
for any single month's rent. You'll also pay a charge of

for each returned check of rejected electronic
payment, plus inital and dally lafe charges from due date until we receive
acceptable payment. If you don’t pay rent on time, or fail to pay any sent,
utilities or contractual fees due under a prior lease if this is a renewal
hease, you'll be delinquent and all remedies under this Lease Contract will
be authorized. We'll also have all other remedles for such violation.

Weand you agree that tite failure to pay rent imely or the violation of the
animat restrictions results in added administrative expenses and added
costs fo us, the sameas if we had to borrow money to pay the operating
costs of the property necessary to cover such added casts. We both agree
that the late fee and animal violations provisions are intended to be
liquidated damages since the added costs of tate payments and damages
in such instances are difficult to deternilne. We atso both agree thal the
amount of jale rent and animal violation fees charged are reasonable
esHmates of the adnilnistrative expenses, costs, and damages we would
incur in such instances,

All of the foregoing charges ‘vill be constdered to be additional rent.

UTILITIES. We'll pay for the following items, if checked:

O water Q) gas electricity 0] masicr antenna.

CF svastewatec() trash (cable TY Ctother_
You'll pay for alf other utilities, related deposits, and any charges, fees,
or services on such utilities. You must not allow utilities to be
disconnected—- Including disconnection for not paying your bills—untii
the lease term of renewal period crdts. Cable channels that ard provided
may be changed during the Jease term if the change applies to all residents.
Utilities may be used only for normat houschold purposes and must not
be wasted. If your electricity {s ever interrupted, you must use onl
battery-operated lighting. Ifany utilities are submetered for theapartment,
or prorated by an allocation formula, we will attach an adderidum to this
Lease Contract In compliance with state agency rules or city ordinance.
Resident shall not heat the apartment using gas-operated stoves oravens
which were Intended for use in cooking.

Where lawful, all utilities, charges and fees of any kind under this tease
shall be considered additional rent, and if partial payrrientts are accepted
by the Landlord, they will be allocated first to non-rent charges and to

a

rent last. Failure fo maintain utililies as required hercin Is a material
violation of the Ledse and may result in teronation of tenancy, eviction
and/or any other remedies under the Lease and Florida law.

INSURANCE. {We do not maintain insurance to cover your personal
property or personalinjury. Weare not responsible fo any reskfent, guest,
or occupant for damage or loss of personal property or personal injury
from (including but not limited to) fire, smoke, sain, flood, waterand pipe
teaks, hail, Ice, snow, lightning, wind, explostons, earthquake, interruption
of utilities, theft, hurricane, negligence of other residents, occupants, or
Invited funiavited guests or vandalism untess otherwise required by law.

We urge you to get your own insurance for losses to your personal
y and for personal infurdes due to theft, fire, rain, Hood, hurricane,
wind damage, water damage, pipe leaks and the like.

Additionally, you are {clieck ove] Bl required to purchase personal liability
insurance L} not required to purchase personal Habtlity insurance. If no
box fs checked, personal lability insurance fs not required. If required,
fallure to maintain personal Habitity insurance throughout your tenancy,
including any renewal pertods and/or lease extensions Is an incurab!
breach of this Lease Contract and may result in the termination of tenancy
and eviction and/or any other remedies as provided by this Lease
Contract or state fiw.

, LOCKS AND LATCHES, Keyed lock(s) will be rekeyed alter the prior

resident moves out. The rekeying will be done before you maye intoyour
apartnsent.

You may atany Umeask us to changeor rekcy locks of latches during the
Lease Term. We must comply with lhose requests, but you must pay for
them, unless othenwise provided by faw.

Payment for Rekeying, Repalrs, Ele. You must pay for all repairs of
replacements arising from misuse or damage to devices by you or your
family, occupants, or guests ducing your occupancy. You may besequired
to pay In advance if we notify you within a reasonable time after your
cequest that you arémore than days delinquent in telemburstag us for
repalring of replacing a device which was misused of damaged by you,
your guest or an occupant; or [f you have requested that we repaie of
change or rekey the same device during the 30 days preceding your
request and wo have compiled with your request. Otherwise, you must
pay immediately aflec the work Is completed.

po. a Special Provisions and "What If Clauses ee |

SPECIAL PROVISIONS. ‘he following spectat provisions and any
addenda or wrilten rules furnished to you at or before stgning wili
become a part of this Lease Contract and will supersede any conflicting
provisions of this printed Lease Contract form.

5. rovisions_o: ala 2

 

 

 

 

See any additional special provisions,
EARLY MOVE-OUT. Unless modified by an addendum, if you:

(1) move out without paying rent in full for the entire Lease Contract
torm or renewal perlod; of

Q2) move out at our demand because of your default; or

(3) are judicially ovicted.

You will be liable forall rent owed at the time and as it becomes due under
the terms of your lease agreement until the apartment is re-vented,

. REIMBURSEMENT. You must promptly reintburse us for loss, damage,

government fines, of cost of repairs ar service in the apartment or
apartient community due to a violation of the Lease Contract or niles,
Improper use, or negilgence by you or your guests or occupants or any
other cause not dud to our negli or fault as allowed by law, f
for damages by acts of God to the extent they couldn’t be nutigated by
your action or Inaction. You'll defend, indemnify and hold us armless
from ali [Eabilliy arising from your conduct or that of your Invitees, your
occupanis, your guests, or our F mesentallves who at your request
perform services not contemplated in this Lease. Unless the damage of
ive OPP IE if oo PSS ESnie wwe to 2 0 eg
¢ damépe io the

OT Ot ues:

Of—repalry placement co ane
Invilees, gues

on nist p

GREW Eng Pte tsp on puro G

  
  

50) re

open: and d ge from

 

 

We may nufré paymontat any time, Inchading
advance payment of repairs for which you're liable, Delay in demanding
sums you owe Is nota walver.

CONTRACTUALLIEN AND PROPERTY LEFT INAPARTMENT. All
property In the apartment of common areas assoctated with the
apartment ls {untess exempt under slate statute) subjectte a contractual
flen to secure payment of delinquent rent. The lien will atisch fo your
property oe your property will be subject to the lien at the thme you
surrender possession of abandon the premises. For this purpose
“apartment” Includes common areas assexlated with the apartment
Intorfor living aress and exterior patios, balconies, atta garages, and
storcrooms for your exclusive use.

Removal After Surrendee or Abandonment. We or law officers may,

at our diserction, remove, dispose and /or store all property remaining in
ihe apartment or in common areas (including any vehicles you o¢ any

© 2018, National Apartment Assoctatfon, Inc. -2/2018, Florida
[71 Blue Hoon eSignature Services Document ib: 51664515 |

  

H.

i

16.

oxcupant or guest onps of uses} if yott surrender, are judicially evicted,
or abandon the apartment (see definitions in paragraph 41 (Deposit
Return, Surrender, and Abandonment).

THE LANDLORD IS NOT REQUIRED TO COMELY WITH 8. 715.104.
BY SIGNING THIS RENTAL AGREEMENT, THE TENANT AGREES
THAT UPON SURRENDER, ABANDONMENT, OR RECOVERY OF
POSSESSION OF THE DWELLING UNIT DUE TO THE DEATH OF
THE LAST REMAINING TENANT, AS PROVIDED BY CHAPTER 83,
FLORIDA STATUTES, THE LANDLORD SHALL NOT BE LIABLEGR
RESPONSIBLE FOR STORAGE OR DISPOSITION OF THE
TENANT'S PERSONAL PROPERTY.

Storage, Wemay story, but have no duty to store, property removed after
surrender, eviction, or abandonmentof he apartment. We're not liable for
casualty foss, damage, or theft except for properly removed under a
contractual lien. You must pay reasonable charges for our packing,
remaving, storing, and selling any property.

FAILING TO PAY RENT, If you don't pay the first month's rent when
or before the Lease Contract beging, or any other cent duc under this lease
we may end your right of occupancy and recover damages, allomey's
fees, caurt costs, and other lawful charges.

. RENT INCREASES AND LEASE CONTRACT CHANGES. No rent

increases or Lease Contract changes are allowed before the initial Lease
Contract (erm ends, ex {for changesallowed by any special provisions
in paragraph 10 (Special Provisions), by a wallles addendum or
amendment signed by you and us, or by reasonable changes of apartment
rules allowed under paragraph 16 (Contmuntty Policies or Rules). If, at
least 5 days before the advance nolice deadline referred to in paragraph
3 (Lease Term and Termination Notice Requirements), we give you
weitten notice of pont increases of lease changes effective when the lease
term of renewal perfod ends, this Lease Contract will automatically
continue month-to-month with the increased rent or lease changes, The
new modified Lease Contract will begin on tha date stated In the notice
(without necessity of your signature) untess you give us written move-out
notice under paragraph 36 (Move-Out Nolice).

DELAY OF OCCUPANCY, If occupancy [1 or will be delayed for
construction, repairs, cleaning, or a previous resident's holding over,
we're not responsible for the delay, The Lease Contract will remain In
force subject fo! {3} ebalement of rent on a dally basis during delay; and
(2) your right to terminate as set forth below, Termination notice must be
in Writing. After terminalion, you are entitled only to refund of depos! t(s)
and any reat patd. Rent abatement or Lease Contract terminatton does
not apply If delay és for cleaning or repalrs that don't prevent youfrom
occupying the apartment.

If there Is a delay and we haven't glven notice of delay as set forth

immediately below, you may terminate up fo the date when the apartment

ts ready for occupancy, but not later.

{1p If we give written notice ta any of you when or after the Initial
term as set forthin Paragraph 3 (leaseTerm and Termination Notice
Requirentents}--and the notice states that occupancy has been
delayed because of construction or a previous resident's holding

Page 2 of 7

 
Case 6:19-cv-01829-PGB-EJK Document1 Filed 09/20/19 Page 11 of 35 PagelD 11

18.

1.

20,

2

.

over, and that the apartment will be ready on a specific date~you
may terminate the Lease Contract within 3 days of your receiving the
notice, but not later.

If we give written notice to any of you before the [nitial term as
set forth in Paragraph 3 (Lease Term and Termination Notice
Requirements} and the notice states that construction delay ts
expected and that the apartment will be ceady for you to occupy on
a specific date, you may terminate the Lease Contract within 7 days
after any of you receives written notice, but not later. The readiness
dite is considered the new initial term as set forth in Paragraph 3

Cc

COMMUNITY POLICIES OR RULES. You and ail guests and

occupants must comply will any wrilten apariment rules and community

policies, including Instructions for care of our property. Our rules are

considered part of lis Lease Contract. We may make reasonable changes

to writien rules, effective immediately, if they are distributed and

ap licable to all units in the pariment community and do not change
otlar amaunts on page } of this Lease Contract.

@

=

LIMITATIONS ON CONDUCT. The apactment and other areas
reserved for your privale use must be kept clean, Trash must be disposed
of at feast weekly in appropriate receptacles in accordance with local
ordinances. Passageways may be used only for entry or exit Any
swimming pools, saunas, spas, tanning beds, exercise rooms, storeroons,
laundry rooms, and similar areas must be used wilh care fn accordance
wilh apartment sufes and posted signs. Glass containers ate prohiblted
in all common areas. You, your occupants, or guests may not anywhere
in the apartment communtly: use candles er use kerosene lamps or
kerosene heaters without our prior written approval; cook on bafoonles
or outside; or solicit business Gr contributions. Conducting any kind of
business (including child care services) in your aparlment or in the
apactment community 1s prohibited—except that any lawful business
conducted “at home" by computer, mail, or telephone is permissible tf
customers, clients, pattents, or other business associates da not come to
your apartment for business pu . We may regulate: (1) the use of
patios, bafeontes, and porches: (2) the conduct of furniture movers and
delive reong: and (3) receeattonal activities in common areas. You'll
be liabfe to us for damage caused by you or any guests or occupants.

We may exclude, and/or*No Trespass” from ihe aparintent community
guests of others who, In our Judgment, have been violating the law,
violating this Lease Contract orany apartment rules, or disturbing other
residents, nelghbors, visitors, or owner repregentalives. We may also
exclude from any outsidg area or common area a person who refuses to
show photo identification or refuses to identity imself or horself as a
resident, occupant, of guest of a specific residentin the community. Tenant
agrees that landlord reserves the right to trespass any non-tenant from
the leased premises and common areas.

You agree to notify us if you or any occupants aro convicted of any felony,
or misdemeanor involving a controlled substance, ylolence to another
person or destruction of property, You also agree to notify us if you orany
occupant registers as a sox offender In any state. Informing us of criminal

ons of sex offender registry docs not walve our right to evict you.

PROHIBITED CONDUCT. Youand your occupants or guesis may not
engage in the following activities: behaving in a loud or obnoxious
manner; disturbing or threalening the rights, comfort, health, safely, or
conventence of others (including our agents and employees) In of near
the apartment community; disrupting our business operations;
manufacturing, delivering, possessing with intent fo deliver, of otherwise
a controjled substance or drug paraphernalia; engaging in or
threatening violence; possessing a weapon prohibited by state latw;
discharging a firearm in the apartment communily; displaying or
possessing & gun, knife, o other weapon In the common area in a way
hat may alarny others; engaging in criniinal activity that threatens the
health, safely, or right to peaceful enfoyment of others in or near the
apartment community {regardless of arrest or conviction); storing
anything in closets having gas appliances; tampering wilh ulllities or
tefecommunicalions; bringing hazardous materials Into the aparlment
communily; or injuring our reputation by making bad faith tons
against us to others. You agree ta communkaid and conduct yourself at
all limes in a Lawful, courteous, and reasonable manner when interacting
with our employees, agents, independent contractors, and vendors;other
residents, occupants, guests or Invitees; or any other person on the
premises. You agree not to engage In any abusivebchavior,elther verbal
of physical, or any form of intimidation or aggresston directed af ovr
employees, agents, independent contractors, and vertors; other residents,
occlipants, guests of Invitees; or any other person on lhe premises. It
requested by us, you agree to conduct all further business with us In
svriting. Any violation of this paragraph shali bea materfal breach of this
eae will entitle us to exercise all rights and remedies under Ihe lease
and fiw.

PARKING. We may regulate lhe ime, manner, and place of parking
care, teucks, motorcycles, bicycles, boats, fraifers, recreallonal vehicles,
and storage devices by anyone, We may have unauthorized or illegally
parked vehicles (owed Under an appropriate statute. A vehicle fs
unauthorized af illegally parked in the zpartment community If ft:
1) hasa flat tire or other condition rendering it Inoperable; or
2} ison jacks, Mocks or has wheel{s) missing: or
3) has no current license or no current inspection sticker; or
(4) takes up more than one parking space; or
6) belongs loa resident or occupant who has surrendered or abandoned
apariment; of
{6) is parked ina marked handicap space without the legally required
handicap Insignia; or
8 Js parked in space marked for manager, staff, or guest at lhe office; or
(9) is rking* areazor

blocks another vehicle from ealtings er
(10) is parked in a space marked for other resident(s} or unit(s}; or

 

in a fire tane ot designated “no

©2018, National Apariment Association, Inc. - 2/2018, Florida
[ Blue Moon Signature Services Document 10, 151684513 |

(Lease Term art Termination Notice Requirements} for all
This new date may not be moved to an carifer date unless we and

you agree.

17, DISCLOSURE RIGHTS. H someone requests Information on you or

your recta! history for law-enforcement, governmental, or business
purposes, we may provide It. At our request, any ulility provider may
givtus information about pending or actual connections or disconnections
of utility service fo your apartment. .

White You're Living in the Apartment — . |

{tt) Is parked on the grass, sidewalk, or patfo; or
(12) blocks garbage trucks from access to a dumpster; or

(13) belongs to a resident and fs parked [na visitor or reiall parking space.

22, RELEASE OF RESIDENT. Unless you're entitled to terminate your

23,

tenancy under paragraphs 10 (Special Provisions), 16 (clay of
Occupancy), 23 (Miltary Personnel Clause), 3f (Responsibilities of
Owner}, 25 (Move-Out Notice), or by separate addendum, you won't be
released from this Lease Contract for any reason—including but nat
fimited ta voluntary or involuntary schoo! withdrawal or transfer,
voluntary or involuntary fob transfer, marriage, separation, divorce,
reconciliation, toss of co-residents, loss of employment, bad health, or
death,

MILETARY PERSONNEL CLAUSE, Any “servicemembar" as defined
in Fla. Stat, §83.43(14) and Fla. Stat. $250.01 may terminate his or her
tenancy by providing us with written notice of termination to be effective
on Lhe date stated in the notice that is at least 30 days after our recelpt of
the notice If the criteria a9 specified (n Fla. Stat. §83.682 are met. Your
notice fo us must be accompanied by either a copy of Ihe official miltasy
orders or a wrilten verification signed by the servicemember's
commanding officer.

After your move out, welt return your security deposit, less lawiul
deductions, If you or any co-resident is a dependent of a secvkemember
covered by the U.S, Servicemembary Civil Rellef Act, your lerany may
not be terminated tinder this paragraph without applying to a court and
showing that your ability ta comply with the Lease Contract is materially
affected by reason of the servicemember's military service, Upon
fermination of your tenancy under thls paragraph, the tenant fs [lable for
prorated rent due through the effective date of the termination payable
at such time as would have otherwise been required by the ferme of this
Lease Contract. The tenantis not liable for any other renf or damages due
to the early termination of the tenancy as provided forin this paragraph,

. RESIDENT SAFETY AND PROPERTY LOSS. You and all occupants

and guests must exercise due care for your own and others’ safety and
security, ally In the use of snsoke detectors, keyed deadbolt locks,
keyless bolting devices, window latches, and other access controf devices.
Upon termination of your tenancy under this paragraph, the tenant is
liable for prorated rent due through the effective date of the termination
payable al such timeas would have otherwise been required by the ferms
of the lease. Fhe fenant fs not liable for any other sent or damages due to
the early termination of the tenancy a3 provided for in this paragraph.

Smoke Detectors. We'll furnish emoke detectors as poquired by statute
and we'll test them and provide working baliertes when you first take
possession. After that, you must pay for and replace batters asneeded,
unless the law provides otherwise. We may replace dead or missing
balferies at your expense, without prior notice to you. You must
immediately report smoke detector malfunctions to us. Neither you nor
others may disable smoke detectors. If you damage or disable the smoke
defector or remave a bation without replacing it witha working balery,
you may be Hable to us under state statute for $100 plus one month's rent,
actual damages, and altormey’s foes. If you disable or damage the snake
detector, oF fail to replace'a dead battery or report malfunctions lous, you
will be liable to us and others far any loss, damage, or fines from lite,
smoke, or waler,

Casualty Loss. We're not lable to any resident, guest, of occupant for
sonal injury or damage or foss of personal property from any cause,
including but not limited to fire, smoke, ratn, flood, waterand pipe feaks,
hall, lee, snowy, lightning, wind, explosions, earthquake, interruption of
ulitides, theft, or vandalism untess otherwise required by law. We have te
duty fo rénne arty kee, totter, steel, or sow bul may remove any amoual wlth
or teithoul nofice. During freezing weather, you must ensure that the
temperature in the apartment fs sufficlent to make sure that the pipes do
not froze (ive suggest at least 50 degrocs). Ifthe pipes freeze or any other
damage is ca y your failure to properly maintain the heal is your
apartment, you'll be tinble for damage to our and other's property. you
ask our representatives to perform services not contemplated in this Lease
Contract, you will indemnify us and hold us harmless front all liability
for those services.

Crime or Emergency, Dial 911 of immediately call focal medical
emergency, fire, or police personnel In case of accident, fire, smoke, oF
suspected criminal activity or other emergency involving Imminentharm.
You should ther contact our representallve. Unless otherwise provided
by law, we're not Hable to you or any guests os occupants for Injury,
damage, or toss to or property caused by eriminatconductol other
rons, including theft, bucglary, assault, vandafism, of other crimes.
e're not obliged to fumish security personne), security lighting, security
gatesos fences, ar other forms af security. If we provide any access cinteol
devices of securily measures upon the property, they are not a guaranton
toprevent crime og toseduce the risk of crime onthe property. Youagree
that no access control of security measures can eliminate all crime and
that you will not rely upon arly provided access control or securit
measures as a warranl y, or guarantee of any kind. We're not responsible
for obtaining criminal-history checks onany residents, occupants, guests,
of contractors In the apartment community, If you or any occupant or

Page3 of 7

 
Case 6:19-cv-01829-PGB-EJK Document1 Filed 09/20/19 Page 12 of 35 PagelD 12

3.

guest is affected by a crime, you must make a written report tn our
representative and fo the appropriate local [aw-enforcement agency. You
must also furnish us with the Tawy-enforcement agency's incident report
number upan request.

Fire Protection. Please check only one box: @ Fice protection is NOT
available or Q) Fire protection IS AVAILABLE. Description of fire
protection available (not applicable unless the box fs checked):

@) Sprinkler System in apartment

@ Sprinkler System in common areas
%) Smoke detector

© Carbon monoxide detector

@ Fire extinguisher
ED Other (Deseribe}:

Building, Housing, or Health Codes. We will comply with the
requirements of applicable bullding, housing, and health codes. [f there
arenuappicable building, housing, or health codes, we wilf maintain the
roofs, windows, screens, doors, floors, steps, porches, exterior walls,
foundations, and all other structural components in good repair and
capable of resisting normal forces and Toads, and the plumbing in
reasonable working condition. However, we are not responsible for the
repair of conditions ceeated or caused by the negligent or wrongful actor
omission of you, a member of your family, of any other person on the
premises, in the apartment, or in the common areas of the apartment
communtty with your consent,

 

CONDITION OF THE PREMISES AND ALTERATIONS. You accept
the apartment, fixtures, and furniture as ts, except for conditions
piatecially affecting the heallh or safely of ordinary persons. We disclaims
atl implied warranties, You'll be given an Inventory and Condition fornt
on or before move-in. You must note on the form all defects or damage
and returs ft fo our representative. Otherwise, everything will be
considered to be In a clean, safo, and goad working condition.

You must use customary diligence In matntaining the apartment and not
damaging or littering the common areas. Unless authorized by statute or
y us in writing, you Must nol perform any repairs, painting, wallpapering,
ting, electrical changes, srotherwiceater our pro ity. Nehofesor
stickers are allowed Inside of outside the apartment. But weil fra
reagonable number of small nail holes for hanging pictures on sheetrock
wails and In grooves of wood-paneled walls, unless our rules stafe
otherwise. No water furniture, washing ntachines, additional phone or
TY-cable outlets, alarm systems, or lock changes, additions, or rekeying
is permilted unless statutorily allowed or we've consented in writing. You
may install a satellitedish or antenna provided yousign our satelfitedish
or antenna lease addendum which complies with reasonable restrictions
allowed by federal law. You agree not to alter, damage, of semove our
property, including alarm systems, smoke detectors, fumiture, telephone
and cable TV wiring, screens, flocks, and access control devices. When you
move in, we'll supply light bulbs for fixtures we fumish, Including

exterlor fixtures operated from inside the apartment; after that, you'll
replace them at your with bulbs of the same type and wattage.
Your improvements and /or added fixtures to the apartment (whether or

not we cansent} beconie ours tinless we agree athenvise jn writing.

Vest Control. Weill make reasonable provisions for the extermination
of rals, mice, roaches, ants, wood destroying organtsma, and bed bugs. If
you are required to vacate the premises for such extermination, we shall
not be Iiable for damages, but rent shall be abated. if you are required to
vacata In order fo perform pest control or extermination services, you wilt
be given seven (7} days wrillen notice of the necessity to vacate, and you
will not be required to vacate for more than four «i days, We may stilt
enter yourapartment as provided in Paragraph 28 {i We May Enter}
of this Lease and 175,983.53 or upon 12 hours notice to perform pest contrat
orextermination services which do pot require you to vacate the premises.
You mustcomply swith all applicable provisions of building, housing and
health codes and maintain the apartment and adjacent common areas In
adlean and sanitary manner, You must properly dispose of and prompily
remove afl of your garbage 50 as to prevent foul odors, unsanitary
conditions, of Infestation of posts and vermin In your apartment, adjacent
conumon areas (such as breezerrays), and olher comaion areas of the
apartment community.

Waterbeds. You are allowed to have a waterbed or flotation bedding
systems provided it complies with any applicable building codes and
povided thal you carry flotation or renters insurance which covers any
damages which occur as a result of using the waterbed or flotation
bedding system. You must provide us with a copy of the policy upon
request. You must also name us as an additional insured at pur request,

REQUESTS, REPAIRS, AND MALFUNCTIONS, IF YOU OR ANY
OCCUPANT NEEDS TO SEND A NOTICE OR REQUEST—FOR
EXAMPLE, FOR REPAIRS, INSTALLATIONS, SERVICES, OR SECURITY
RELATED MATTERS—IT MUST BE SUBMITTED THROUGH EITHER
THE ONLINE TENANT / MAINTENANCE PORTAL, OR SIGNED AND
IN WRITING AND DELIVERED TO QUR DESIGNATED
REPRESENTATIVE (except In case of fire, smoke, gas, explosion,
overflowing sewage, uncontrollable running waters, electrical shorts, or
crime in progress). Our swritten notes on your oral request do not
consHtute a writen request from you.

Qurcomplying with or responding toany oral Foquest regarding security
OF non-security mailers doesn't walve the strict requirement for written
notices under this Lease Contract. You must promplly nollfy us in writing
of; water Soaks; electrical problems; maffunctioning Hgtits: broken or
missing locks or latches; and olher conditions that a hazard to
property, health, of safety. We may change or install utility Hnes or

©2018, National Apartment Assoclatioh, Inc. - 2/2018, Florida

(VU Blue Moon eStgnature Sendces Document Ib: 151684813 |

2z

2

sw

a

. MULTIPLE RESIDENTS OR OCCUPANTS.

equipmunt serving the aparfment if the work is done reasonably without
substantially Incecasing your utility costs. We may tum off equipment
and intercupt utilities as needed to. avoid property damage or ta perform
work. [Ff utes malfunction or are damaged by fire, wates, or similar
cause, you must nolify our representative Immediately, Alr conditioning
problems are not emergencies. If alr conditioning of other equipnient
malfunctions, you must notify our representative as son as possible on
a business day, We'll act with customary diligence to make repairs and
reconnections, Rent fll nol abate in whole or in part. .

If we befieve that fire, catastrophic damage, extermination issues, mold
and mildew of any habitability issues whatsoever is substantial, or that
petformance of needed repairs poses a danger to-you, we may fermistate
this Lease Contract within a reasonable time by giving you written notice.

ANIMALS. No animals {including mammals, reptiles, birds, Aish,
rodents and insects) are allowed, even temporarily, anywhere in the
apartment or apartment communily unless we've 50 authorized in
writing. If we allow an animal, you must sign a separate animal
addendum, which may require additional deposits, rents, fees or other
charges. An animal deposit isconsidered a general security deposit. You
must centove an unauthorized animal within 24 hours of fotice from us,
of you wilt be considered Jn default of this Lease Contract. We sill
authorize assistance animals needed because of a disability for you, your
guests, and occupants pursuant to the parameters and guidellines
estabfished by federal, state and local Pair Housing laws. We may require
a written stalement from a qualified professional verlfying the need for
the support and/or service animal, You must not feed stray or wild
animals,

If you or any guest or occupant violates animal restrictions (with or
without your knowledge), you'll be subject to charges, damages, evictlon,
aad other remedics provided in this Lease Contract. [fan animal has been
in the apartment at any time during your term of occupancy (with or
without our consent), we'll charge you for defleaing, deodorizing, and
shampooing. Initial and daily animal-violation charges and animal:
removal charges are liquidated damages for our time, Inconvenience, and
overhead (except for attomey's fees and fitigation costs) in satorcing
animal restrictions and rules. We may rechove an unauthorized anima

by (1) leaving. Ina conspicuous place in the oparimenta 24-hour written
notice of intent to remove the animal, and (2} following the procedures of
paragraph 26 (When We May Enter}. We may keep of kennel the animal
or tum it over lo a humane society of focal authority. When keeping or
kenneting an animal, we won't be Ilable for loss, harm, sickness, or death
of the anima! unless due to our negligence. We'll retum the animal fo you
Upon request ff it has not already been tumed over tn.a humare sociely
or Jocal authority. You mtust pay for the animal's reasonable care and.
kenneling charges. We have no fien on the animal for any purpose.

WHEN WE MAY ENTER. Pursuant fo Fla. Stat. §83.53, we may enter
the dwelling unlt at any ime for the protection or preservation of the
premises, in the case of an emergency, or If you unreasonably withhold
consent. Ff you or any guest or occupant Is presente then repairers,
servicers, contraclors, our representatives or other persons listed in (2)
below may peacefully enter the apartment at reasonable times for the
purposes listed In (2) below, If nobody Is In the apariment, then such
persons may enter peacefully and at reasonable times by duptkate or
master key (or by breaking a window or other means when necessary in

emergencies} If

(1) we provide you with written notice fo enter at feast 2hoves prior to

the enlry to fake place between the hours of 7:30 a.m. and 840 pnt}
(2) entry ts for: responding to pour request; making repalrs or
replacements; estimating cepalr or refurbishing costs; performing
pest control; doing preventive maintenance; changing filters; testing
or replacing smoke-detector batteries; retrieving unretumned tools,
equipment or appliances preventing waste of utliitles;exercising our
contractual lien; leaving notices: delivering, installing, reconnecting,
of replacing appliances, furniture, equipment, or access control
devices; removing or rekeying unauthorized access control devices;
removing unauthorized low coverings: stopping excessivenoise:
removing health or safety hazards (including hazardous materials),
of Hems bited under our rules: removing perishable foodstuffs
If your electricity Is disconnected; removing unauthorized animats;
cutting off electitcity according to statute; retrieving property omned
or leased by former residents; Inspecting when Immediate danger to
perton or property is reasonably suspected; allowing persons toenter
as you authorized In your rental application (If you die, are
incarcerated, cle); allowing entry by a law officer with a search of
freest warrant, or in hot pursuit; showing apartment to prospective
residents {after moyve-out or vacate notice has been given}; showtn,
apartment to gaverament Inspectors for the limiled purpose o
determining housing and fire ordinance compliance by us and to
tenders, appratsers, contractors, prospective buyers, or insurance
agents; or any other reasonable business purpose,

Each resident fs pintly
and severally able for afl lease obligations. If you or any guest or
occupant violates the Lease Contract or rules, all resktents are considered
io have violated the Lease Contract. Our requests and notices (inctudin
sale notices any resident constitute notice to all residents an
occupants. Notices and requests from any resident of occupant (induding
notices of lease termination, repair requests, and entry permissions}
constitute siotice From all residents. In eviction sufts, cach resident fs
considered the agent of all other residents in the apartment for service of
process. Socurity-dcposit refunds and deduction ttemtzations of mettiple
residents will comply with paragraph 41 (Deposit Return, Surrender, and
Abandonment).

Page 4 of 7

 
Case 6:19-cv-01829-PGB-EJK Document1 Filed 09/20/19 Page 13 of 35 PagelD 13

 

[. Replacements I

30, REPLACEMENTS AND SUBLETTING. Replacing a resident, sub-

i.

3

hr

felting, or assignment is allowed only when we consent in writing.

Procedures for Replacement. If we approve a replacement resident,
then, at our option: (1) the replacement resident must sign this Lease
Contract with or without an Increase in the total security deposit; or (2}
the remaining and replacement residents must sign an entirely new Lease

Contract. Untess weagree othenwisedn wetting, your security deposit will
automatically (ransfer to the replacement resident as of lhe dale we
approve, The departing resident willng longer havea right to occupancy
ora security deposit refund, but will remain lable for tht remainder of
the ori; Lease Contract term unless we agree otherwise In writing
even if a new Lease Contract fs signed.

PP Ce . . Responsibilities of Owner and Resident ©. |

RESPONSIBILITIES OP OWNER. Well act with customary diligence
to:

(i) keep common areas seasonably clean, subject to paragraph 25
(Condition of the Premises and Alterations):

Q) maintain fixtures, furniture, hot water, healing and A/Cequipment;

QB) comply withapplicable federal, stale, ard k laws reparding eafely,
sanitation, and falr housings and

G) make all reasonable repairs, subject to your obligation to pay for
damages for which you are liable.

If we violate any of the ebove of other material provisions of the lease,
youmay terminate this Lease Contractand exercise olhes remedies under
state statute only as follasvs:

(a) you must make a weilten request for repair, maintenance, of ceed
of the condition to us, specifying how we have failed ta comply wit
Florida law or with the material provisions ofthis lease and indicating
yatir Intention fo terminate the lease if the violation Is nol correct
within seven (7) days alter delivery of the native;
after receiving the request, we have a reasonable time ta repatr or
remedy the condition, constdering the nature of the problem and the
reasonable ayallability of matedals, labor, and utilities;
ifour failure to comply with Florida Jaw or material provisions of the
reatal agreement Is due tn causes beyond our control and we have
made and continue to make every reasonable effort to correct the
failure to comply, you stay alsa exercise other stalulory remedies.

All rent must be current at the dime you give us notice of
noncompliance.

(b

=

tc

=

. DEFAULT BY RESIDENT. You'll be In default if you or any guest or

occupant viofstes any terms of this Lease Contract inctuding but not
Hmilted to the following violations: (1} you don't pay rent or other amounts
that you owe when dues (2) you or any guest of occupant violates this
Lease Contract, apartment niles, or fire, safety, health, of criminal laws,
regardless of whether or where arrest or conviction occurs: (3) you
abandon the apartnent; (4) you give incorrect or false answers ina rental
application; (3) you of any occupant fs arrested, convicted, or given

clerred adjudication for 4 felony offense involving actual or potential
physical harm to a person, or Involving possession, manufacture, or
delivery of a controlled substance, marijuana, or drug paraphernalia
under state statute; ar (6) any iHegal drugs or poraphemalia ace found in
your apartment.

Termination of Rental Agreement - Your Failure to Pay Rent Due. [f
you default by failing to pay rent when duc and the default continues for
three (3) days, not counting Saturday, Sunday, and court-observed legal
holidays, after delivery of a written demand for payment of the sent or
ssession of the prentises, we may terminate the rental agreement.
‘ermination of this lease for non-payment of rent, or termination of your
possession rights, (fling of an action for possession, eviction, issuance of
a weit of possession, or subsequent reletting doesn’t release you from
iabliity for future rent or other lease obligations.

Termination of Rental Agreement - Your Failure to Comply with FS.
83.52 or Materiat Provistons of the Lease.

(t} If you default by materially faiting to comply with FS. 83.52 or
material provisions of this lease, the rules ans! regulations, or any
addenda {other than failure to pay tent due}, and the
non-compliance [s of a nature that YOU SHOULD NOT BE GIVEN
AN OPPORTUNITY TO CURE or if your non-compliance
CONSTITUTES A SECOND OR CONTINUING NON-
COMPLIANCE WITHIN TWELVE (12) MONTHS OF A
SIMILAR VIOLATION, we may terminate the lease by delivering
written notice specifying the nature of the non-compliance abd
our intention to terminate the tease. Upon receiving such a lease
ferninalion notice without opportunity to cure of constituting a
secorid ylolation within 12 months, you wilt have seven (7) days
from delivery of the notice to vacate the apartnient and premises.
Examples of non-contpitance which are without opportunity to
cure include, bul are not Nmited to, destriction, daniage, or
milsuse of our of other resident's propesly by your {ntentfonal acts
or a subsequent of continued unreasonable disturbance.

(2) if you default by materially falling to comply with B.S, 63.52 or
material provisions of this lease, the rules a wiations, of any
addenda (other than failure to Ry rent due}, and the non-
compliance ts of a nature that YOU SHOULD be given an
opportunily ta cure it, we may deliver a written nolice to you
specttying the nature of the son-complance and notifying you

t unless the non-compliance is corrected within seven (7} days
of delivery af the notice, we may terminate the lease, If you fall to
correct the ylolation within seven (7} days of receiving stich note

2018, Natlonal Apartment Association, Inc. «2/2018, Florida

iv] Biye Moon eSignature Services Document ID: f5teessis J

or if you repeat same conduct or conduct of a similar nature within
a twelve {t2} month period, we may terminate your lease without
giving you any further opportunily to curve ihe non-compliance
as provided above. Examples of non-compliance in which we will

Ive you an opportunity to cure the violation include, but are not
imited i, unauthorized pels, guests, or vehicles, parking In an
unauthorized manner, or faillng to keep the apariment and

semises clean and sanitary. We will also have all rights under
Flosida law and this Jease to tow or renidve improperly parked
vehicles in addition to our remedy of terminating the lease for
such violations,

Termination of this Jease for non-compliance with PS. 63.52 or material
provistons of the lease, termination of your possession rights, filing of an
action for possession, eviction, issuance of 4 writ of possession, of
subsequent reletting doesn't release you from Ilability for future rent or
other lease obligations.

Holdover. ‘You or any occupant, invites, or guest must not hold over
beyond the date contained In yous move-cut notice or our notice tovacale
(or beyond a different move-out date agreed to by the parties In writing}.
Ifa holdover occurs, then: (1) holdover rent is due in advance ona daily
basis and may become delinquent without notice or demand; (2} we may
file a holdaver eviction Jawsuit pursuant to Fla. Stat. §93.58 to recover

on of the divelling unit, double the amount of rent duc for each
day that you continue to holdover and refuse to surrender possession
during the holdaver period, breach of contract damages, atomey fees
and court costs as may be applicable; or (3} at our option, we may extend
the Lease Contract lesm—for up to one month from the date of notice of
Lease Contract extension—by delivering written notice to you or your
apariment while you continue to hold over.

Giher Remedies. Wemay report unpaid amounts to credit agencies. If
we, ora third-party debt collector we tse, try te collect any money you
owe us, you agree that we or the debt collector may call re on your cell
phone and may use an automated dialer, If you default and move out
early, you will pay us any amounts stated (o be rental discounts En
para, ph i0 jal Provisions), in addition to other sums due. Upon
your delault, we have all other legal semedies under state statute, Unless
a party is secking exemplacy, punitive, sentimental or personatinfury
damages, the prevailing party may recovec fromihe non prevailing party
altomey’s foes and all other Htlgation costs. Late charges are tig ated
damages for our time, inconventence, and overhead in collecting aigrent
{but are not for attorney's fees and titigation costs). All unpald amounts
bear 18% Interest per year from due date, compounded annually. You
must pay all collection-agency fees if you fail to pay all sumis due within
10 days after we mail you a letter demanding payment and stating that
collection agency fees will be added if you don't pay at sums by that
deadline, Untess modified by Addendum, you will also be liable for all
of our actual damages related ta your breach of the Lease Contract.

Chofce of Remedies and Mitlgalion of Damages, If you moveoutearly,
ill ba subject to paragraph 11 (Early Move-Out) and all other remedies.
Thwve regain ton of the apartment asa result of your breach of the
lease, or because you surrendered ton of the apartment, or because
you abandoned possession of the apariment, or because we obtained
ion through eviction proceedings, unless modified by Addendum,
swe may elther (2) treat the lease as terminated and re-take possession FOR
OUR OWN ACCOUNT; (b} re-take possession of the apartment FOR
YOUR ACCOUNT and altempt in good falth to re-let [ton your behalf
or (c} take no acilon to obtain possession or re-let the apartment and
continue to collect rent from you as it comes due, If we lake possession
of the apartment for our own account, then you will have no further
liability for rents under the remainder of the lease. If we take ion
of the apartment for your account and altempt tore-Tet [f, you will remain
liable for the difference between the rental remaining due under the lease
and the amount we are able to recover by making a good falth effort at
re-fetling the premises pn your behalf. We are not required ta make an
election of which remedies we choose to pursue nar notify you of which
remedies we will select.

Lease Renewal (When A Breach or Default Has Occurred. In the event
that you enter info a subsequent Lease prios to the expiration of this Leasa
and you breach or otherwisecommit a defaultunder this Lease, Wemay,
at our cole and absolute discretion, terminate the subsequent Lease even
if the subsequent Lease term has yet fo commence, We may terminate
said subsequent Lease by sending you written notice of our desica to
terminate sakd subsequent Lease.

Remedies Cumulative. Except where Hmlted or prohibited by law, any
remedies set forth herein shall be cunvulatlve, In addition to, and not in
[Imitation of, any ather remedies avallable to Landlord under any
applicable fav.

Page 5 of 7

 
Case 6:19-cv-01829-PGB-EJK Document1 Filed 09/20/19 Page 14 of 35 PagelD 14

 

! ee a rn General Clauses.

33. MISCELLANEOUS. You understand and acknowledge that nether we

36,

37,

nor any of our representalives have authority fo ouake any statements,
romises of representations In conflict with or in addition to the
ormalion contained in this Lease Contract or by a separate wrilten
agceement signed by you and us, and we hereby ly disclaim any
responsibility for any such statements, prontises or representations, You
acknowledge that you have not relied upon any such statements, promises
or representations in signing this Lease Contract and walve any rights of
claims arising from any such statements, promises or representatt
Any curreat or prior understandings, statements, tepreseniations and
agreements, oral of written, including but not limited to, renderings or
representations in brochures, advertising of sales matesials and oral
statements of our representatives, ff not Specifically essed fn this
Lease Contract, Addenda or te weiting, are void and have no effect.
You acknowledge and agrea that you have not relied on any such items
or statements In signing this Lease Contract. This Lease Contract Is the
entire agreement between you and sis, Quy representalives {including
management personnel, employces, and agents} have no authority fo
salve, amend, of terminate dhls Lease Contracl or any part of it, unlesa
fa writing, and no authority to make promises, representations, or
agreements that impase security dutles or other obligations on us or our
representalives untess In wriling. Any dimensions and sizes provided to
you relating to the ap it are only mations or estimates as
actual dimenstons and sizes may wary. No action or émisston of our
representative will be considered a waiver of any subsequent violation,
default, o time or place of performance. Our not enforcing or belatedly
enforcing written-notice requirentents, rental due dates, Hens, or other
rights isn’t a waivee under any circumstances. Except when notice or
demand is required by statute, you walve any notice and demand for
performance from us if you default. Written notice to or from our
managers constiiutes nolice to or from us. Any person giving a notice
under this Lease Contract should retain 4 copy of the memo, letter of fax
hat was given. Fax or efectronic signatures are binding. All notices must
signed.

Exercising one remedy won't constitute an election of waiver of other
remedies. Unless prohibited by law or lhe respective insurance policies,
ffyou have Insurance covering theapartmentor your personatbe longings
at the time you or we suffer or allege a loss, you and we agree to waive
any Insurance subrogallon rights. All remedies are cumufalive. No
employee, agent, or management company [s personally fable for any of
our contractual, statutory, or other obligations merely by virtue of acting
on our behalf. All provistons regarding our non-Hability or non-duly
arely to-our employees, agents, and manageatent anes. This Lease

‘ontract binds subsequent owners. Neither an fnvalid clause nor the
omission of Initials on any page invalidates this Lease Contract. All
notices and documents may be in English and, at our option, In any
language that you read or speak. Al provisions regarding our non-
Uasbility and non-duty epply to our employees, agents, and management
companies. This Lease Contract Is subordinate or superior to existing and
future recorded mortgages, at lender's option. All Lease Contract
pelgations must be pecformed in the counly where the apartment is
local

RADONGAS; Weare required by Florida Statute 404.056(5} tagive the
following nolification to you. "Radon is a naturally occurring radioactive
gas that, when tt has accunwlated in a bulfding in sufficiont quantities,
may present health risks (o persons who are to ft over time.
Levels of radon that exceed federal and state guidelines have been found
in buildings in Florida. Additional Information separding radon gas and
radon testing may be obtained from your county health depariment.”

3

=~

35,

I

CONDOMINIUM OR HOME OWNERS ASSOCIATION RULES: Ta the
extent applicable, you acknowledge that you have reviewed, understand
and will abide by any Condominium or ¢ Ohvner Association Rules
and Regulations (HOA Rules’) that may be In effect and promulgated
from lime fo time. Your failure ta abide by any HOA Rules is a material
breach of this Lease Contract, A copy of the HOA rules is on file at the
office.

Consent to Solicitation. You hereby expressly authorize us, our
répresentative(s}, and any collection ager oF debt collector (hereinafter
collectively referred toas the “Authorized Entities") to communkete with
you, The communication may be made through Any lawful method for
any lawful reason related to amounts duc and owing undec this Lease.
You authorize any and all of the communication methods even ifyou will
incura feeora cost lo receive such communications. You fuyther promise
to Immediately notify the Authorized Entities if any telephone number
or email address ot other unique electronic identifier or mode that you
provided to any Authorized Entity changes or [s no longer used by you.

All discretionary rights reserved for us within this Lease Contractor any
accompanying addenda are at our sole and absolute discretion.

You affirmatively state Chat you are not a criminal sex offender,

Obtigation ta Vacate. If we provide you with a notice to vacate, or [f
you provide us with a weitten notice fo vacate or intent to move-out In
accordance ‘vith the Lease Teems paragraph, and we accept such written
notice, then you are required to vacate the apariment and remove all of
‘our personal property therefrom at the expiration of the Ledge term, or
ry the date set forth in the notice to vacate, whichever date is earlier,
svithout further notice or demand from us.

Although the property may currently be providing cable on a bulk basis
tothe resident, the property may, will ys Holice to Lhe sestdent, cease
providing cable and the resident will contract directly with the cable
provider for such services.

FORCE MAJEURE: If we are prevented from completing performances
of any obligations hereunder by an act of Ged, strikes, epidemics, war,
acts of terrorism, slots, flood, fire, hurricane, tomada, sabotage, or other
cccurrence which is beyond the control of the parties, then we shall be
excused from any further performance of obligations and undertakings
héreunder, to the full extent allowed under applicable law.

Furthermore, if such an event damages the property to muateriafly affect
ils habfiability by some or all residents, we reserve ht to vacate any
and al} leases and you agree to excuse us from any further performance
of obligations and undertakings hereunder, to the full exdent allowed
rider applicable Jaw.

. PAYMENTS. Payment of all sums Os an independent covenant At our

option and without notice, we may apply money recelved (other than sale
proceeds under paragraph £3 (Contractual Lien and Froperty) or utility
payments subject to. governmental regulalions) first to any of your unpald
obligations, then to current rent—regardiess of notations on checks or
money orders and regardiess of when the obligations arose. All sums
other than rent are due upon our demand, After the due date, weda not
have to accept the rent of any olher payments. We do not have tozccept
and may ceject, at any ime and st our discretion, any third party chec
or any attempted partial payment of rent or other payments.

ASSOCIATION MEMBERSHIP, We represent that elther: (1) weos; (2)
the management company that represents us, [s at the time of si; th
Lease Contract or a renewal of this Lease Contract, a member the
Natfonal Apartment Association and any affillated state and focat

 

 

WAIVER OF JURY TRIAL, To minimize legal expenses and, to the

extent allowed by daw, you and we agreo that a trial of any tasvsult based apartment (enulti-housing} associations for the area where the apariment
on slatute, conimon law, and/or related to this Lease Contract shali be fa is located.

a Judge and nota fury. ‘

[oo oe eifee Ee When Moving Out |.”

MOVE-OUTNOTICE, Before moving out,eltherattheendofthelease 3a. CLEANING. You must thoroughly clean the apartment, Inchiding

term, any extension of the lease term, or prior to the end of the lease term,
you must give our representative advance written notice of yourinlention
to vacale as required by the Lease Terms paragraph. if you move out
prior to the end of the Iease ferm, your notice does not act as a release of
lability for the fulf teem of the Lease Contract. You will still ba fable for
the énlfre Lease Contract term If you move out carly (see Release of
Resident} except ff you are able to terminate the Lease Contract under a
separaty Addendum, the statutory tights explained under paragraph 11
(ReLet Farly Move-Out), paragtaph 22 {Release of Resident), and/or
paragraph 23 (Military Personnel Clause}. All notices to vacate must be
In wriling and must provide the date by which you fatend to vacate. If
the notice does not comply with the time requicements of the Lease Terms
paragtaph even Hf you move by the last cate in the lease team, you will
fesponsible for amages permitled under the lease and law. you fall
to vacate by Ihe date set forth In any notke to vacate, we may seek the
remedies and damages specified under the “Holdover" paragraph, or we
may deem your potice vold ond you must submit 4 new written notice.
If you fail to provide proper notice and vacate, you will ba responsible
for damages permitted under the lease nad Jaw.

MOVE-OUT PROCEDURES, The move-out date can't be changed
untess wo and you both agree in writing. You won't move out before the
tease term or renewal period ends untess af! rent for the entire feage term
or reneival perlod is paid in full, You're prohtbited by law from applying
any security deposit to rent. You won't stay beyond the dale you are
supposed fo move aut. All residents, guests, and occupants must vacate
the apartment before the fifteen (15) day period for deposit refund begins,
You must give us and tha US, Postal Service, in writing, each resident's
forwarding address.

© 2018, National Apartment Association, Ine, - 2/2018, Florida

[A Blue Moon esignature Services Document (0; 151684513 ]

39.

40,

doors, windows, furniture, bathrooms, kitchen appliances, patios,
balconies, garages, carports, and storage rooms. You must follow move-
out cleaning Instructfons IE lhey have been provided. If you don'tctean
adequately, you'll be liable for reasonable cleaning charges.

MOVE-OUTINSPECTION. You should meet with our representative
fora mave-out Inspection. Our representative hag no authority fobind or
Holt ws regarding deductions for repairs, damages, or charges. Any
statements or estimates by us of our representalive are subject to our
correction, modification, or disapproval before final refunding of
accounting.

SECURITY DEPOSIT DEDUCTIONS AND OTHER CHARGES.
You'll be Hable for the following charges, If applicable: unpaid rent;
unpaid utilities: unreimbursed service charges; repalrs or damages caused
by negligence, carelessness, accident, or abuse, Including stickers,
scratches, tears, burns, stains, or unapproved holes; replacement cost of
our property that was In or attached to the apartment and is missing:
replacing dead or missing smoke-detector baitertes; ulflittes for repairs
or cleaning; trips to fet in company representatives bo temove your
telephone or TV cable services of rental tems (Ef you so request or have
moved oul); trips to open the apartment when you or any guest or
occupant is nilssing a key; tnretumee kaiss missing of burned-out ight
bulbs; removing or rekeying unaulhorized access control devices oratarm
systems; packing, removing, or storing properly removed or stored under
paragraph 13 {Contractual Lien and Property Loft In Apartment);
removing illegally parked vehicles; spectal 4 ps for trash removal caused

by parked vehicies blocking dumpsters; fa securtity-atatm charges
unfess duc to our negligence; animal-related charges under paragraph 27
Pageséof7

 
Case 6:19-cv-01829-PGB-EJK Document1 Filed 09/20/19 Page 15 of 35 PagelD 15

Cart and Trash Polic

 

 

 

CARTS - In the event that you, or anyone living in your suite that is on your lease
or visiting, brings a shopping cart from a store onto The Westbury Property or in the
building will receive a bill with the appropriate chatges, that bill will be sent to your
suite. Personal buggies, that are purchased by you and are able to be folded down and
stored in your apartment are approved and are permitted on property.

COMPACTOR -The compactor is located outside the mail room door and is
where anything that cannot be recycled is to be disposed of. Please make sure boxes are
broken down and garbage is in a closed tied bag. All residents are required to take their
garbage to the compactor and place the bag inside the compactor and press the compact
button each time anything is placed inside. Failure to do so will result in a charge being
added to your account and a bill will be sent to your apartment. At no time should any
trash or personal items be left outside or around the compactor, thrown over the fence,
thrown over balcony, if you need assistance discarding your trash please contact the
leasing office and someone will make arrangements to help.

FURNITURE - Furniture and mattresses are never to be disposed of on property.
It is the resident’s responsibility to schedule the elevator to remove the furniture from the
building and to have it taken off the premises at their own expense. Anyone found
leaving these items anywhere on property will receive a biil.

Fines:

Carts: $25 per cart

Trash thrown over fence/balcony: $25 per bag

Trash left outside compactor or on grounds: $25 per bag

Furniture left on property: $150* subject to vary based on items abandoned

. This is for your protection as well as ours- NO EXCEPTIONS WILL BE MADE,

lose 2018

 

 

 

 

 

Lessee Date

CanA— 09/11/2018
Lessee Date

Lessee Date

Lessee Date

Kelly Ddsssstagiie: 09/42/2018
Lessor Date

 

MZ. Blue Moon eSignature Services Document 1D; 191684513 ]
 

1. DWELLING UNIT DESCRIPTION, Unit No. 213,
1495 Harden Ridge Loop
(street address} in Apopka
(city), Florida, 32703 (zip code).

2, LEASE CONTRACT DESCRIPTION.
Lease Contract date: September 14, 2018
QOvwner's name: Harden Ridge Apartmants

 

 

 

Residents (list all residents):
Carina Brooks King, James King

 

 

 

This docunient shall serve as an addendum (this
“Addendum") that is hereby incorporated into and made part
of the Lease Contract (the “Lease"} between Resident and
Owner. Where the terms of the Lease and this Addendum
may conflict, the terms of this Addendum shall control.

PURPOSE OF ADDENDUM. We recognize that you
have special circumstances that require a short-term Lease
Contract, By entering this Addendum with you, we have
agreed to modify the terms of your Lease Contract toallow
roore flexibllity in your lease term and moye-out notice.

4. LEASE CONTRACT TERMS, The language of the Lease
‘Terms paragraph of the Lease Contract is deleted in its
entirety and replaced by the language in this Addendum:

3a

The initial term of the Lease Contract begins on the

dst dayof ££ _Osteber , 2

{year}, and ends at midnight on the 30th day of
September +—2019__ (year).

The Lease Contract, as amended by this Addendum, does
net automatically renew. The Lease Contract will terminate
on the date indicated above, unless you provide us with a
written request to renew orextend the Lease Contract term
and we give you written or electronic approval of your
request.

WAIVER AND MODIFICATION OF MOVE-OUT
NOTICE, The language of the Move-Out Notice paragraph
of the Lease Contract {s deleted In Its entirety and replaced
by the language in this Addendum:

5

We agree to walve the move-out notice required to be given
by you prior to the end of the Lease Contract term. Asa
courtesy, we request that you provide us with a written
notice of your move-out date,

Moving out prior to the end of the Lease Contract term twill
not release you from Habllity for the full term of the Lease
Contract, any renerval term(s), and/or lease extensions.
You wiil still be Hable for the entire Lease Contract term if
you moye out early (Early Move-Out paragraph), except as
otherwlse expressly set forth in the Léase Contract.

Resident or Residents
(AH residents must sign)

brunch lect
Yom

 

 

 

SHORT-TERM LEASE ADDENDUM

7.

+

Case 6:19-cv-01829-PGB-EJK Document1 Filed 09/20/19 Page 16 of 35 PagelD 16

   

WATIONAL APARTMENT AISOGATION

Wie bead Sy ay Hora

6. SHOWING THEUNIT. Wemay begin showing your unit

to prospective residents 30 days before your Lease Contract
term ends, per the When We May Enter paragraph of the
Lease Contract.

OTHER RIGHTS UNCHANGED. Except as otherwise
expressly set forth in this Addendum, all other contractual
rights and obligations of both you and us under the Lease
Contract remafn unchanged.

. OBLIGATION TO VACATE. You have an obligation to
vacate,the dwelling at the end of the Lease Contract term.
Please contact us if moving out by the end of the Lease
Contract term becomes a problem for you. You may be able
to extend your Lease Contract term if we have not already
relet the dwelling to others. Weand any successor residents
who may be leasing your untt will be relying on your moving
out per the Lease Contract termination date, Therefore, you
may not hold over beyond such a date without our written
or electronic consent—even if {t means you have to make
plans for temporary lodging elsewhere. You will be subject
to the terme and conditions of the Default by Resident
paragraph of the Lease Contract showld you hold over.

. SPECIALPROVISIONS, The followlng special provisions
control over conflicting provisions of this form:

6 to 8 months = $100, er § to il months =
875.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

10, SEVERABILITY. If any provision of this Addendum or

Lease Contract Is invalid or unenforceable under applicable
law, such proviston shall be Ineffective fa the extent ofsuch
invalidity or unenforceability only without invalidating
or otherwise affecting the remainder of this Addendum
or Lease Contract. Fhe court shall Interpret the lease and
provisions herein in @ manner such as to uphold the valid
portions of this Addendum while preserving the Intent of
the parties.

Owner or Owner's Representative (signs below)

Kip Brsactper

Date of Signing Addendum

 

09/12/2018

Carina Brooks King, Janes King
© 2017, Natlonal Apartment Association, fac. - June 2017, Florida

i Give Moon eeignature Senices Oocument Ib: 151684513 9

Page 1 of 1

 
Case 6:19-cv-01829-PGB-EJK Document1 Filed 09/20/19 Page 17 of 35 PagelD 17

Indemnification Addendum

This is an addendum to your Apartment Lease Contract for apartment number 213 in the
Marden Ridqe Apartments (Community/Apartments) in _ FL__ (State).

 

 

It is intended to be a part of the Apartment Lease Contract between the parties for leasing a residential rental unit.
Residents are required to secure liability coverage prior to their move in date.

Owner: NM Residential
Resident(s): Carina Brooks King James King

 

 

 

Premises: Marden Ridge Apartments

Participation Cost (if paid through Owner’s Program) $12.00 per month

1, Liability Insurance-Insurance Indemnity. Notwithstanding anything in the Apartment Lease Contract to the
contrary, Resident shall indemnify and hold Owner harmless from any claims, damages, liabilities and expenses
(including attomey's fees and costs) for damages or injury to any person or any property occurring within the
leased premises [apartment unit], or any part thereof, attributed or caused by resident’s or resident’s guest's
actions or inactions. As required by the Apartment Lease Contract, resident shall be obligated to maintain
liability coverage protection during the Term of the Apartment Lease Contract and any subsequent renewal
periods. Coverage is required in the amount of one hundred thousand dollars ($100,000.00) for damages to
Owner’s and third party’s property with provisions covering at least perils of fire, explosion, sewer backup,
smoke, and accidental water discharge. Resident shall request that the Owner be named as an additional insured
on Resident’s policy. Such policy shall be written as a policy not contributing with and not in excess of coverage
which Owner may carry. It is agreed that Owner carries insurance for its own protection; Resident is not a
coinsured under Owner’s own insurance nor a beneficiary thereof. Resident shall be responsible to Owner for
all costs of repair for damages as stated herein and fn the Apartment Lease Contract regardless of Owner’s

insurance.

2. Costs of Participation. All costs of participation as required in this addendum shall be paid by Resident.
Resident agrees to purchase coverage from an insurance company of his/her choice, or to participate in the
Owner’s program. The Owner's program, Renters Legal Liability™! (RLL), shall be deemed to meet the
requirements of this addendum. It is NOT a policy issued to the Resident. The resident agreés to pay such
amount above in addition to all other obligations contained within the Residential Rental Agreement, The RLL
program cost shall be considered additional rent for purposes of the Residential Rental Agreement. RLL is a
property damage Hability only program. Renters Legal Liability™ will cover your personal property and
contents according to the Acknowledgment of Enrollment provided that: a) the claim submitted by the
community, on a single loss, was originated by a resident who is participating under the Owner’s Program,
and b) the total loss is less than $100,000 (subject to $1,000 deductible) and the losses of the owner and the
non-responsible, Impacted residents are satisfied, if the program limit has not been exhausted. If the
$100,000 RLL program limit has been exhausted, there {s no personal property protection avatlable for any
resident including those enrolled in the RLL program. It {s recommended that you obtain supplemental

personal property and contents coverage.

Dated and effective as of: 09/14/2018

[x] I will purchase my own insurance and provide a copy to Owner.
[_| Laccept the costs of insurance as a rider to the Owner's program.

peeasl Ki

Resident Resident

eljk Manager [v1 Blue Moon eSignature Services Document ID; 151684513 ]

 

 

 

 

 
Case 6:19-cv-01829-PGB-EJK Document1 Filed 09/20/19 Page 18 of 35 PagelD 18

E-SIGNATURE CERTIFICATE

This certificate details the actions recorded during the signing of this Document.

bluemoon

 

DOCUMENT INFORMATION
Status Signed

Documentio 151684513

Submitted Caf2ig

Total Pages 39

Apartment Lease Form, Chole of Damages, Early Termination
Addendum, Additional Spedal Provisions, Animal Addendum, AlHin-One
Unlity Addendum, Sed Bug Addendum, Motd Information and

" Prevention Addendum, Satellite Dish or Antenna Addendum,

Community Policies, Rules, & Regulations, Addendum for Rent

Fi induded Concession, Renter's or Liability Insurance Addendum, No-Smokin;

orms induces Addendum, Parking Addendum, Crime/Dnug Free Housing Addendum,

Short-Term Subletting or Renta Prohibited, Washer and Dryer
Addendum, Package Acceptance Addendum, Photo, Video, and
Statement Release Addendum, Short-Term Lease Addendum, Cart &
Trash Policy, Indemnification Addendum, Move-Gut Charge Ust, Poot
Rules & Regulations, Resident Lock Out Agreement

PARTIES

Carina Desiree Brooks King
signer key: Oaff350a5ac7d00458cb 16a3b5172998

iP address; 71,42.23,237
signing method: Blue Moon eSignature Serves
verified email: chrooksking@gmail.com

authentication method: eSignature
browser: Mozilla/5.0 (Iphone; CPU IPhone OS 11_4_1 like Mac 05 } AppleWebit/605. 1.15 (KHTML, like Gecko} Version/11.0 Mobie/ 156148 Safarleo4,1

beronshopir—

 

James Donavan King

signer key: 993e246d1513d91294c1512d20e7a9aa

IP address: 71,42.23,237

signing method: Blue Moon eSignature Services

verified email: cbrookskingg@gmaif.com

authentication method: eSignature

browser: Mozila/5.0 (Phones CPU IPhone 05 11_4_1 like Mac OS 4) ApplaWebKIL/e0s. 1.15 (KHTML, like Gecko} Verston/ 11.0 Mobife/15£148 Safarl604.1

yn

 

Kelly Dunmeyer

signer key: 882b448e0809e5e495394234ef 1 abs40
IP address: 10,100,10.24

signing method: Blue Moon eSlgnature Services
verified emad: kdunmeyer@nmresidentiaicom
authentication method: eSignature

browser: PHP 5.5.9-ftubuntud. 20/50AP

Kelly Vaunmeyor

 

DOCUMENT AUDIT
1 09/11/46.02:21:06 PMCOT = Carina Desiree Grooks King accepted Consumer Disclosure
2 09/11/#802:22:29 PMCDT Carina Desiree Brooks King initialed Apartinent Lease Form
3 09/44/18.02:22:47 PM COT Carina Desiree Brooks King signed Apartment Lease Form
Case 6:19-cv-01829-PGB-EJK Document1 Filed 09/20/19 Page 19 of 35 PagelD 19
fo: ehaph fs. Pig, PAG
Cis siuiean & Kolkateala, a)
hamcieninad Selin, A
Phy Oy 897-3544
Fors 407-897-4016
foll Free: 1-860-386-3078

 

4 Division of Florida Pediatrie Assoeloles, LLG

May 17, 2019

eee King

 

To Whom It May Concern:

 

Jason King has been my patient since October of 2016. At that time, | diagnosed Samay
with Autism.

Patients with Autism can be sensitive to loud noises, vibrations, lights, sounds, and
sensations. Although Autism is more widely known and diagnosed these days, what is
known about each individual patient's needs and triggers is widely left to their parenis,
caregivers, physicians, and teachers.

in the case of damma¥t, he is sensitive to loud sounds and vibrations. | feel that he would
benefit from a quiet environment—away from loud noises, heavy vibrations such as
from traffic, construction, or trains.

It is my understanding that the Department of Urban Housing and Development under
the Fair Housing Act makes specific Federal requirements for persons with disabilities.
Please consider making accommodations for my patient.

Sincerely,

   

Carl R. Barr, B.C
Child Neurologist

 

6150 Mefrowest Blvd., Suite 105 « Orlando, FL 32835
www floridachildneurology.com
Case 6:19-cv-01829-PGB-EJK Document1 Filed 09/20/19 Page 20 of 35 PagelD 20

Florida Child Neurology (FCN)
6150 Metrowest Blvd. Ste. 105 Orlando, FL 32835

P: 407-897-3544 F: 407-897-4016

02/19/2019

 

 

a8 KING

Re: & a
2013

To Whom It may Concern:
. Thy
@@i@ is a patient in our child neurology clinic, He has been diagnosed with the following:

0 LACK OF EXPECTED NORMAL PHYSIOLOGICAL DEVELOPMENT (ICD-783.40)

(ICD10-R62.50)
© HYPOTONIA (ICD-728.9) (ICD10-M62.9)
» AUTISM SPECTRUM DISORDER (ICD-299.00) (ICD 10-F84.0)

This is a note ind#tating child's diagnosis only, to start any school evaluations for either a 504
plan or an IEP. Please note that if further information is required, such as a detailed letter of
diagnosis, forms, and/or medical records, fees may apply (attached is the fee guidelme for each

request; these fees are parent responsibility).

Thank you for your consideration toward 88g. If you have any further questions, please feel
free to contact our office.

Sincerely;

“UY eS
Ch Loo

Ae Lesetey ee?

  

et

Carl R. Barr, D.O.
Florida Child Neurology, PLLC .
Case 6:19-cv-01829-PGB-EJK Document1 Filed 09/20/19 Page 21 of 35 PagelD 21

  

 

wt COMMUNI TY 122 B. Colonial Drive, Suite 200

etn - 1D
Es i LE GAL S E RVI CE S Phr (407) Barry7 | Foe Go ea
a of MID-FLORIDA ° www.clsmforg

 

SS ner?

 

 

May 29, 2019

Marden Ridge Apartments
1595 Marden, Ridge Loop
Apopka, FL 32703

‘Re: James and Carina King
Marden Ridge Apartment #213
Reasonable Accommodation Request

Dear Madam/Sir:
Loe

Please be advised that I have the pleasure of advocating for the King family in
protecting their rights under the Fair Housing Act. This letter serves as a formal
reasonable accommodation request for my clients, James and Carina King who currently
reside in apartment 213 at Marden Ridge. The King’s child is autistic and is sensitive to
loud noises. As you know, my clients have made mulfigie complaints about the noise to
management at Marden Ridge as well as law enforcement. Since no action was taken by

"reasonable accommodations" in rules, policies, practices, or services when, such
accommodations may be necessary to afford [a disabled] person equal opportunity to use

and enjoy a dwelling." The Fair Housing Act (FHA), 42 U. S.C. 3604 and the Florida
Pair Housing Act, Fla, Stat. 760.20 et seq.

The King’s child is being treated by Dr. Carl Bart a local neurologist for his
autism. According to Dr. Barr, the King’s child has difficulty with loud noises and needs
to be in an apartment that is not subjected to loud and sudden noises. T heir current
apartment, as has been pointed out to management, is subjected to neighbors who are

 

 

 

 

 

 

Putting Justice in Byeryone’s Reach

oe

Tie Frida Rae =i] LS

bundalian THAR

EXHIBIT
Serving: Brevard, Citrus, Flagler, Hernando, Lake, Marion, :
Orange, Osceola, Putnans, Seminole, Surnter and Volusia Counties = (

 

 
Case 6:19-cv-01829-PGB-EJK Document1 Filed 09/20/19 Page 22 of 35 PagelD 22

documents the medical need and nexus between the disability and the need for the
accommodation.

Please note, federal law prohibits you from inquiring as to the nature or severity of
my client's disability. For further information, see Bhogaita v. Altamonte Heights
Condominium Ass 'n., Inc., 765 F.3d 1277 (2014). Additionally, any adverse or
retaliatory action taken agairist my clients for exercising their Fair Housing rights is also
a violation of the Act and will be reported to HUD.

The King’s have also been informed that they are not allowed to access all areas of
the apartment complex, including offices, clubhouse and various amenities that they are
paying a fee for. This discriminatory action against them should not be taking place and
would ask that you provide us something in writing that states they have full access to all
areas of the apartment complex.

Please direct any questions, comments and replies to my attention only regarding
these issues. I would like to get these issues worked out as soon as possible and would
request a response no later than Monday, June 10, 2019. Thank you for your attention in

this matter and should you have any questions or concerns, please do not hesitate to
' contact the undersigned.

 

Enclosure

Ceo. Client
MRAD Phase I, LLC
151 Southhall Lane
Suite 150
Maitland, PIL 32751
19-cv-01829-PGB-EJK Document1 Filed 09/20/19 Page 23 of 35 PagelD 23

Case 6

pnt

i

iets

Shane

tlt

feat
ee

 
Case 6:19-cv-01829-PGB-EJK Document1 Filed 09/20/19 Page 24 of 35 PagelD 24

\ 60 MM U NLT Y —————__-___ 123 E. Colonial Drive, Suite 200

} LEGALS E RVI C i: S Orlando, FL 32801-1219

Ph: (407) 841-7977 | Fax: (407) 246-1661
of MID-FLORIDA www.clsmf.org

 

 

June 10, 2019

Marden Ridge Apartments
1595 Marden Ridge Loop
Apopka, FL 32703...

Re: ~ James and Carina King
— Marden Ridge Apartment #213
Reasonable Accommodation Request sown
Dear Madam/Sir:

This will follow up my letter to you of May 29, 2019. Unfortunately, I got no response from
you regarding my Client’s reasonable accommodation request. HUD and case law as interpreted
silence as a denial for the request. We would prefer to be able to resolve this issue without having
to escalate to the next level. In the spirit of cooperation, we will extend the deadline to provide
confirmation of the reasonable accommodation to Jime 17, 2019. If I do not hear back from you by
that date, then the King’s will have no choice but to take their Fair Housing Complaint to the next
level and seek all available remedies to protect their rights under the Fair Housing Act.

As before, please direct any questions, comments and replies to my attention only regarding these
issues, I would like to get these issues worked out as soon as possible. Thank you for your
attention in this matter and should you have any questions or concerns, please do not hesitate to
contact the undersigned.

   

air Housing Programs

JRH

Enclosure

Ce. Client
MRAD Phase I, LLC
151 Southhall Lane
Suite 150
Maitland, FL 32751

 

 

Ea lle florida Bar sae

Foundation = .
Serving: Brevard, Citrus, Flagler, Hernando, Lake, Marion, e : a FR ee
Orange, Osceola, Putnam, Seminole, Sumter and Volusia Counties : ]

Putting Justice in Everyone's Reach : EXHIBIT

 

 
Zuiy Gmail - Uniine Kenewal Nouncation

 

Carina Brooks-King <chrooksking@gmail.com>

19 “Pfige 2&of 35 PagelD 25

 

@nline Renewal Notification
messages

‘tardenridge@nmresidential.com <mardenridge@nmresidential.com> Mon, Jun 17, 2019 at 2:33 PM
4: cbrooksking@gmail.com

er: cbrooksking@gmail.com

Cc -
Pear Residents,

OAs your lease expires on 9/30/2019, Marden Ridge Apartments is offering to renew your lease for 213. Please lo.

g on to your Resident Connect account to
Cyeview your lease renewal options and renew your lease online under the My Lease tab.

Login to Resident Connect
Lu

of you need to create an account, please use this link: Create an account
QO

Ors you have any questions, please call our office.
oO .

 

“I
OThank you,
Maria Velez
sDonna Wilkenfeld

Stnardenridge@nmresidential.com
©4407) 605-5977
o

 

Cas¢
Case 6:19-cv-01829-PGB-EJK Document1 Filed 09/20/19 Page 26 of 35 PagelD 26

1

   

 

iK hi i COMMUNITY ———— 122 E, Conon Dive, ste 200
: Orlando, FL -
iN hl >} LE GAL S E RVI CE S Ph: (407) 841-9777 | Fax: (407) 246.1661
4 a { ———— 9 fF MID-FLORIDA . www.clemforg
July 15, 2019
Via Email and Us Mail

Atlanta Regional Office of FHEO

U.S. Department of Housing and Urban Development
Five Points Plaza

40 Marietta Street, 16th Floor

Atlanta, Georgia 30303-2806

Re: Subject: Fair Housing 903 Complaint
Complainant: Carina King
Respondent: Marden Ridge Apartments

Dear Madam/Sir:

Please be advised that I have the pleasure of advocating for Ms. Mary Heald with regards to
protection her Fair Housing rights. Please find attached to this letter her 903 Complaint which outlines
the discrimination that she has incurred in her housing at the Pointe at Central.

Please note that my Client is scheduled to move in late August 2019 for the upcoming school
year. I can be reached through my direct line (407) 705-5106 if you need to any additional information
or need to discuss this matter in further detail,

I look forward to your investigation of this matter and its results.

air Housing Programs

 

Enclosure
Cc. Client

 

 

 

Putting Justice ty Everpone’s Reach

Fea Tie Hvis Bat ea

' . “= Se . roa Foandatios I
Serving: Brevard, Citrus, Flagler, Hernando, Lake, Marion, Th olives

Orange, Osceola, Putnam, Seminole, Sumter and Volusia Counties

 

Avanti Facet fae byt facie

 
Case 6:19-cv-01829-PGB-EJK Document1 Filed 09/20/19 Page 27 of 35 PagelD 27

HOUSING DISCRIMINATION COMPLAINT

 

Inquiry Number:
CASE NUMBER:
1. Complaint
Name: Carina Desiree King
Address: 1495 Marden Ridge Loop
Apartment 213
Apopka, FL 32703

Representing Complainant:

Jeffrey R, Hussey, Esquire

Managing Attorney of Fair Housing Programs
Community Legal Services of Mid Florida

122 East Colonial Drive, Suite 200

Orlando, FL 32801

(407) 705-5106

jeffreyh@clsmf.org

2, Other Aggrieved Persons

James Donovan King
Jason Demetrius King
3. The following is alleged to have occurred:

Discrimination based on disability
Retaliation based on exercising of my Fair Housing rights

4, The alleged violation occurred because of:

My son has a disability and we requested a reasonable accommodation based
on that disability.
Case 6:19-cv-01829-PGB-EJK Document1 Filed 09/20/19 Page 28 of 35 PagelD 28

5. Address and location of the property in question:

1495 Marden Ridge Loop
Apartment 213
Apopka, FL 32703

6. Respondent(s):
MRAD Phase I, LLC
21400 Lorain Road
Cleveland, OH 44126
d/b/a
Marden Ridge Apartments
1594 Marden Ridge Loop
Apopka, FL 32701

NM Residential, LLC
151 Southhali Lane, Suite 150
Maitland, FL 32754

7. The following is a brief and concise statement of the facts regarding the alleged violations:

My son fs autistic and has sensory sensitivity. He currently recelves SSDI, He is under the
active care of a physician for his condition. In approximately May of 2019, a new
resident move in to the apartment upstairs. This new neighbor is constantly making loud
noises and vibrations that are so strong, pictures have fallen off the wall. These loud
noises triggers my son’s sensory sensitivity and causes him to react adversely and to
shut down. We complained to management and no action was taken. We were then
told to register a complaint with the Community Officer, which we did. We were told
that we needed to contact the police, which we did. We requested a reasonable
accommodation that they move my family to a different apartment away from the loud
noise or they move the new neighbor. They questioned the veracity of the complaint
and we once again confronted management and the neighbor as the nolse was
continuing to aggravate my son’s disability. | constantly complained but management
would not agree to our accommodation request or take any action. After we had made
the request, instead of trying to accommodate my son’s disability, they sent us a 10 day
letter saying that if we complained anymore we would be subject to eviction and also
“banned” us from having any personal contact with management or to enter the
management office, which in turn prevented us from being able to use the amenities
that we were paying for as it would require us to go through management office. We
contacted Community Legal Services of Mid Florida who got the appropriate medical
documentation from my son’s physician and a reasonable accommodation letter was
sent on May 29, 2019 (letter attached as Exhibit “A”). They did not respond to the Jetter
and a second letter was sent on June 10, 2019. They did not provide any response but

 
Case 6:19-cv-01829-PGB-EJK Document1 Filed 09/20/19 Page 29 of 35 PagelD 29

did contact my attorney by phone and he was toid that they were not going to provide
the reasonable accommodation and instead he was told that they were not going to
renew my lease and any move from the current apartment would cost us a $300
transfer fee.

8. The most recent date on which the alleged discrimination occurred:

Ongoing. Last formal request for reasonable accommodation In writing was on June 10,
2019 and the denial to the request was made verbally to my attorney on June 20, 2019.

5. Types of Federal Funds identified:

N/A

10. The acts alleged in this complaint, if prove, may constitute a violation of the following:

804{f}(1). 804(f}(2), and 804f3B of Title Vill of the Civit Rights Act of 1968 as amended by
the Fair Housing Act of 1988.

| declare under penalty of perjury that | have read this complaint (including any attachments} and that
it is true and correct.

/s/Carina King 07/15/2019

Complainant Date

NOTE: HUD WiLL FURNISH A COPY OF THIS COMPLAINT TO THE PERSON OR ORGNIZATION AGAINST
WHOM IT IS FILED.

 
Case 6:19-cv-01829-PGB-EJK Document1 Filed 09/20/19 Page 30 of 35 PagelD 30

ae
ag =

   

\, GOM MUNITY ———-—---__-— 122 E. Colonial Drive, Suite 200
1

i! LE GAL S E RVI C — S Orlando, FL 32801-1219

Ph: (407) 841-7777 | Fax: (407) 246-1661
of MID-FLORIDA wernwclsmforg

Wee t*

 

June 26, 2019

Marden Ridge Apartments
1595 Marden Ridge Loop
Apopka, FL 3270]

Re: CLSMEF File # XX-XXXXXXX
Carina King - Apartment 213
Reasonable Accommodation Request

Dear Madam/Sir:

This will confixm my telephone conversation with Melody who had contacted us
on behalf of Marden Ridge. We spoke on June 20, 2019. Unfortunately, she did not
identify with whom she was calling on behalf of. Pursuant to that conversation, this will
confirm that Marden Ridge will not be providing a reasonable accommodation as
requested by the King’s unless they pay a $300-unit transfer fee and further that they will
not be renewing their lease once it expires.

If any of this information is incorrect or 1 in any way misinterpreted the
information given to me, please immediately let me know. Thank you for your attention
in this matter.

   

sey E&q.
Managing| Attorney frat Housing Programs

 

JRE
Ceo. Chent
Putting Justice in Everyone's Reach The Floida Bar ea}
' Foondati W= 1
Serving: Brevard, Citrus, Hlagler, Hernando, Lake, Marion, ee Foundaliag ll etter ra aha

Orange, Osceola, Putnam, Serninole, Sumter and Volusia Counties
Case 6:19-cv-01829-PGB-EJK Document1 Filed 09/20/19 Page 31 of 35 PagelD 31

af

   

 

% COMMUNITY 122 E. Colonial Drive, Suite 200

; Orlando, FL 32801-
f LE GAL 5 ERVI CES Ph: (407) 841-9997 i Fae (407) 246-16 6x

wwe.clsmforg

 

SS

 

June 10, 2019

Marden Ridge Apartments
1595 Marden Ridge Loop
Apopka, FL 32703
Re: James and Carina King
Marden Ridge Apartment #213
Reasonable Accommodation Request
Dear Madam /Sir:

This will follow wp my letter to you of May 29, 2019. Unfortunately, I got no response from
you regarding my Client’s reasonable accommodation request. HUD and case law as interpreted
silence as a denial for the request. We would prefer to be able to resolve this issue without having
to escalate to the next level. In the spirit of cooperation, we will extend the deadline to provide
confirmation of the reasonable accommodation to June 17, 2019. If i do not hear back from you by
that date, then the King’s will have no choice but to take their Fair Housing Complaint to the next
level and seek all available remedies to protect their rights under the Fair Housing Act.

As before, please direct any questions, comments and replies to my attention only regarding these
issues. I would Hke to get these issues worked out as soon as possible. Thank you for your |
attention in this matter and should you have any questions or concerns, please do not hesitate to
contact the undersigned.

 

 

firey
Manag
JRH
Enclosure
Ce. Client
MRAD Phase I, LLC
151 Southhall Lane
Suite 150
Maitland, FL 32751
Putting Justice in Everyone’s Reach , Teli oy
Serving: Brevard, Citrus, Flagler, Hernando, Lake, Marion, Bitar iL...

Orange, Osceola, Putnam, Serainole, Sumter and Volugia Counties

 
2
Case 6:19-cv-01829-PGB-EJK Document1 Filed 09/20/19 Page 32 of 35 PagelD 3

nett

  

. COMMUNITY 122 E, Colonial Drive, Suite 200

OO
oe } LE GAL S BE RVI CE S Ph: {407} beryyy | Bae oy a
i of MID-FLORIDA . wrrw.clsraf.org

= ze

 

 

 

 

 

 

 

May 29, 2019

Marden Ridge Apartments
1595 Marden Ridge Loop
Apopka, FL 32703

‘Re: Janes and Carina King
Marden Ridge Apartment #213
Reasonable Accommodation Request

Dear Madam7/Sir:

Please be advised that I have the pleasure of advocating for the King family in
protecting their rights under the Fair Housing Act. This letter serves as a formal

loud noises. As you know, my clients have made multiple complaints about the noise to
Management at Marden Ridge as well as law enforcement. Since no action was taken by
Marden Ridge to remedy the noise complaints, they are now in need of a reasonable
accommodation, Housing providers such as Marden Ridge are required to make
"reasonable accommodations" in rules, policies, practices, or services when such
accommodations may be necessary to afford [a disabled] person équal opportunity to use
and enjoy a dwelling." The Fair Housing Act (PHA), 42 U. $.¢. 3604 and the Florida
Fair Housing Act, Fla. Stat. 760.20 et seq,

2 bedroom — 2 bath apartment within the complex that is free from the loud noises they
aré currently subjected to. I have attached a copy of the letter from their physician that

 

 

 

 

 

 

Putting Justice in Bueryone’s Reach The Flvids Bap
Ba ii ai LSC
Trine prac Rene

ices
seth tte Foe £ Mt
Prin ere Op ~ eked bts

Serving: Brevard, Citrus, Flagler, Hernando, Lake, Marion,
Orange, Osceola, Putnam, Seminole, Sumter and Volusia Counttes

 
Case 6:19-cv-01829-PGB-EJK Document1 Filed 09/20/19 Page 33 of 35 PagelD 33

documents the medical need and nexus between the disability and the need for the
accommodation.

Please note, federal law prohibits you from inquiring as to the nature or severity of
my client's disability. For further information, see Bhogaita v. Altamonte Heights
Condominium Ags 'n., Inc,, 765 F.3d 1277 (2014). Additionally, any adverse or
retaliatory action taken agairist my clients for exercising their Fair Housing rights is also
a violation of the Act and will be reported to HUD.

The King’s have also been informed that they are not allowed to access all areas of
the apartment complex, including offices, clubhouse and various amenities that they are
paying a fee for. This discriminatory action against them should not be taking place and

would ask that you provide us something in writing that states they have full access to all
areas of the apartment complex,

Please direct any questions, comments and replies to my attention only regarding
these issues. I would like to get these issues worked out as soon as possible and would
request a response no later than Monday, June 10, 2019. Thank you for your attention in

this matter and should you have any questions or concerns, please do not hesitate to
' contact the undersigned,

  

\ Fair Housing Programs

Enclosure

Ce, CHent
MRAD Phase I, LLC
151 Southhall Lane
Suite 150
Maitland, FL 32751

 
Case 6:19-cv-01829-PGB-EJK Document1 Filed 09/20/19 Page 34 of 35 PagelD 34

rs ei
ei Ces
aS

at
Pre CET)
ee cre ala i

SS
b>
ek

oo

ss
ie
See x

f ay i oe
oN
deaphitteenternetens ESC he Et BR i Sa cease oe 3
oo
GSE ste een pe es reas
ear is

Seer

 

 
Case 6:19-cv-01829-PGB-EJK Document1 Filed 09/20/19 Page 35 of 35 PagelD 35

NOTICE OF NON-RENEWAL OF LEASE AGREEMENT
Date: 7/31/19

James King ,Carina Brooks King :

 

 

(All persons who signed the lease)
1495 Marden Ridge Loop #213
Apopka, FL 32703

 

 

Dear Resident(s):

Please accept.this as written notification that your landlord has elected not to renew your Lease which expires
on 9/30/19 . You are hereby notified that you must vacate your dwelling unit at the
expiration of your Lease Agreement on 9/30/19

This notice in given to you in accordance with paragraph 3 of your Lease Agreement, which states in
relevant part: ow

This lease contret will be automacally renew MTM (Month to Month) unless either party gives at least 60 days
written notice of termination or intent to move out as required by this paragraph and pargraph 36 (Move Out
Notice)

Please make arrangements to turn in your keys, on or before the date specified above and vacate your
apartment accordingly, Failure to do so will result in your being a holdover tenant and subject to double the monthly
rent pursuant to Florida Statute Section 83.58. Should you become a hold-over tenant, we will file a judicial action
seeking to recover possession of the rental unit, double the rent during the hold-over period, court costs and attorney
fees. If you vacate as requested herein and pay rent pursuant to the Lease Agreement through your lease expiration
date, this matter will be resolved.

PLEASE GOVERN YOURSELF ACCORDINGLY

  

 

= ms
(Autiiérized Agerit for Landlord)

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of:

[] This notice was served personally
The person(s) were absent from his/her last usual place of residence, and this notice was delivered
and posted at the residence/address referenced above.

BY: Donna Wilkenfeld DATE: 7/31/19
Authorized Agent for Landlord Date of Service

 

Landlord: Marden Ridge

Address: 1595 Marden Ridge Loop
Apopka, Florida EXHIBIT

Telephone:( 407 _) 605-5977 H C

 

 

 

 

 
